19-11231-mew
         Execution
                            Doc 21-3 Filed 06/24/19 Entered 06/24/19 19:30:03
                                   Lease with Debtors Pg 1 of 48                           w'~~,~                                                                      Original

                                                                                                                                                                      7/04
                                                                                           OF STORE LEASE
                                                              The Real Estate Board of New York, Inc.

       ~grctment of Jfieitse, made as of this                   19th day of          December in the year 2014 , between
        Dino & Sons Realty Corp. ("Owner" or "Landlord") of 1590 Troy Avenue, Brooklyn. NY 11234
        party of the first part, hereinafter referred to as OWNER, and
        Scorpion Fitness Inc. ("Tenant") and Scorpion Club Ventures LLC of325 Fifth Avenue, New York, NY 10016
        jointly and severallyparty of the second part, hereinafter referred to as TENANT,
       ~itnessetlr: Owner hereby leases to Tenant and Tenant hereby hires from Owner
         part of the ground floor. mezzanine and lower level as shown in Exhibit "A", anachcd hereto and made a part hereof
       in the building known as and located at 220 Fifth Avenue
       in the Borough of Manhattan                         , City of New York, for the term of
                       about ftfteen (15) years and seven (7) months (the "Tenn") as defined in Article 41
        (or until such term shall sooner cease and expire as hereinafter provided) to commence on the
        the "Commencement Date" defined in Article 4 i and to end on the
         the "Expiration Date" defined in Article 41
       both dates inclusive, at the annual rental rate of
       $212,-H7.30 per year from the Commencement Date to the last day of the fourth (4th) "Lease Year" (defined in Article 41);
       $262,477.30 per year from the first day of the fifth (5th) Lease Year to the last day of the ninth (9th) Lease Year;
       $276.477.30 per year from the firts day of the tenth (10th) Lease Year to the Expiration Date.

      (hereinafter called the "Base Rent" subject to adjustments as described in Article 41)
       which Tenant agrees to pay in lawful money of the Uruted States which shall be legal tender in payment of all debts and dues,
       public and private, at the time of payment, in equal monthly installments in advance on the first day of each month during
       said term. at the office of Owner or such other place as Owner may designate, without any setoff or deduction whatsoever,
       except that Tenant shall pay the first $17.706.44 monthly installmenl(s) on the execution hereof (wtless this lease be a renewal).
                 In the event that, at the commencement of the term of this lease, or therealler, Tenant shall be in default m the
       payment of rent to Owner pursuant to the terms of another lease with Owner or with Owner's predecessor in interest, Owner
       may al Owners option and without notice to Tenant add the amount of such arrears to any monthly installment of rent
       payable hereunder and the same shall be payable to Owner as additional rent.
                 The parties hereto, for themselves, their heirs, distributes, executors, administrators, legal representative, successors
       and assigns, hereby covenant as follows:

       Rent:                    1. Tenant shall pay the rent as above and as hereinafter provided.
       Occupancy:               2. T\'!nant shall use and m:cupy the demised premises for
       a physical fitness center as the primary use and incidental sale of fitness apparel and refreshments as secondary uses
       and for no other purpose. Tcmanl shall at all times conduct its business in a high grade and reputable manner. shall not violate Article 37 hereof, and
       shall ki:ep show windows and signs in a neat and clean condition.

       Alterations:              3. Tcmant shall make no changes in or to the              the fixtures and appurtenances therein. and the sidewalks adjacent thereto.
                                 dmiised premises of any narure without Owntr's            and at its sole cost and expense, make all non~structural repall'S thereto as
       prior wri~n ~onscnl. Subject to the prior wri~n consent of Owner. and               and when needed to pres~e them in good working order and condition.
       to the provisions of !his article. Tenant, at Tenant's e~nse. may make              reasonable wear and tear, obsolescence and damage from Ul¢ elements.
       aJterut.iom, installations. additions or improvements which are non•                fire or other casualty, excepted. If the demised premises be or becom<
       stnu..1w-al and which do not affect utility services or plumbutg and                infested with vennin, ~imant shall at T.:nant's expense, ca~ the same to
       electrical lines. in or to the interior of the d<mi>ed premises by using            be exterminated from tune: to time to the satisfacuon of Owner. Except as
       contractors or mechanics first approved in each instance by Owner. Tenant           specifically provided. in Artide 9 or elsew_he~ in this lc:ase, there shall be
       shall. before making any alterations, additions, installations or                   no allowance to the Tenant for the dimim.ruon of rental value and no
       improvements, at its expense, obtain all permits, 3Pprovals and certificates        liability on the part of Owner by reason of inc.onvenieru;;e, annoyance or
       required by any governmental or quast--govemmental bodies and ( ~                   injury to business arising from Owner. Tetwtt or others. making or failing
       completion) certificates of final approval thereof. and shall deliver               to make any repairs, alterations, additions or improvements in or to any
       promptly duplicates of all such pennits, approvals and certificates to              portion of the building. including the erection or operation of any crane.
       Owner. and Tenant agrees to carry. and will cause Tenant's contractors and          dc:rrick or sidewaJk shed, or in or to the demised premises or the fixtures.
       sub-contractors to carry, such worker·s compemation. ..:ommercial general           appurtenam,-es or equipment thereof. It is specifically a~.:d that Tenant
       liability. personal and property cbunage insuronce u Owner may require.             shall be not entitled to any set off or reduction of rent by reason of any
       If an m""hanic's lien is filed against the demisod premises. or the building        failure of OWn.:r to comply with the covenants of this or any other article
       of which the same forms a part, for work claimed to have been dorte for.            of thia lease. Tl!rlant agrees that Tenant's sole remedy at law in such
       or materials furnished to. Tenant. whether or not done pursuant to this             in!itance will be by way of an action for damages for breach of contract.
       article. the same shall be discharged by Tenant within 30 days thereafter.          The provision.'! of this Article 4 with respect to the making of repairs shall
       at Tenant's expense. by payment or filing a bond as pennitted by law. AU            not apply in th.: case of fir~ or other casualty, which are dealt with in
       fixtures and all paneling, partitions, railings and like installations. installed   Articlo 9 hereof.
       in the demised premises at any time. either by Tenant or by Owner on
       Tenant's behalf. shall. upon installation, become the property of Owner             Wbldow                     5. Tenant will not clean nor require. pennit.
       and shall remain upon and be surrendered with the demised premises                  Cleaning:                  suffer or allow anv window in the demised
       unless Owner, by nolice to Tenant no later than twenty days prior to the                                     premises to be deatled from the outside in
       date fixed as the tennination of this lease, elects to relinquish Owner's           violation of S~tion 202 of the New York State Labor lilw or any other
       right, thereto and to have them removed by Tenant. in which event. the              applicable law or of the Rul..::s of the Board of Standards and Appeals, or
       same shall be removed from the demisc:d prernisi=s by Tenant prior lo the           of any olher Board or body having or a~.;erting jwisdiction.
       oxpiration of the leue, al Tonant's expense. Nothing m this article shall be
       oonstruod to give Owner title to, or to prevent Tenanfs removal of. trado            Requirements              ~ Prior to the '--ommen~d'fflent of thci 1.:iase tonn.
       fi.Ktures. mov•a.blt office fumitUAI and d(\Uipment. but upon removal of             or Luw, Fire              tf Tenant is then in po,1~ession_. and at all times
       same from the domised premises or upon removal of other installali011S as            Inounnce:                 theroafter, Tenant. at renant s sole cost and
       may be required by OWner, Tenant shall immediately and at its expense.                                         expense, shall promptly comply with all presenl
       repair and restore lbe demised premises to the ,-ondition oxiating prior to         and future laws, ordent and regulations of all state, federal, municipal and
       any such instaltalions. and repwr any dmnuge to lho demised premises or             local govemmonts, departmonts, commissions and boards and any
       tho building due to such removal. All property pomniaed or required to be           direction of any public officer pursuant to law, and all orders, rules and
       removed by T•nant at 1he •nd of the term remaining in the demised                   regulation& of th• New Yori< Board of Finl Undo:rwritors or the Ins""'™"'
       premius aller Tonw,r, removal shall be deemed al>andonod and may, at                Sorvices Office, or any ,inular body which shall imposo any violations.
       the election of OWner. oither be retained as Owner's property or may be             order or duty upon Owner or Tenant witl1 respe.."t to the demised premises.
       remov«J fr'om th~ demis.:d premises by Owner at Tenunt's ll!lxpmse.                 and with respect to the portion of the sidewalk adja<ont to the demised
                                                                                           premises, if the demised premises are on the street level whether or not
       Repalro:                  -1. Owner shall maintain and repair tho public            arising out ofTlfflant's use ur manner of use th«eot: or wtth respect to the
                                 portions of the building, both oxt.orior and              building, if arising out of Tenant's use or manner of use of the demised
       interior. except that if Owner allows Tenant to <reel on the QUISido of the         premises or the building (including tho use permitted under the leaso).
       building a sign or signs, or a hoisl lift or sidewalk elevator for the              Except as provided in Article 29 hereot; nothing herein shall requite
       e:a;lusive use of Tenant. Tenant shall maintain such exterior installations         Tenant to mak.l strucmral repain or alterations unless Tenant has by its
       in good appearance. shall cause the same to bo operated in a good and               manner of use of the demised premises or ltlAlthod of operation therein,
       worionanlik< manner, shall make all repain thereto necessary to koep                violated any sw:h laws. ordinances. orclen, rulos. regulations or
       swno in good order and condition, al Tenant's own cost and expense, and             requirements with mpecl lhoreto. Tonant shalt not do or p,mnit any act or
       shall causo the same lo be covered by the insU131We provided for hereafter          thing to be done in or to the demised premises which is contrary to law, or
       in Article 8. Tonanl shall. lhrou~out the tomn of tho loaso. lake good care         which will invalidate or be in conlli,1 with public liabililv, lire or other
       of the demised premi,.s (includmg, without limitation, the storefront) and          policies of inswam:e at any time ~arried by or for tlw b.::netit of Owntr, or

     Landlord shall not unreasonably witl1hold or delay approval of Tenant's exterior signage.

        PAGE 1                                                                                      PLEASE INITIAL HERE: LANDLOR~
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  •        Execution                                                                  12/19/2014                                                     Page 1 of 47
                                                                                                                                                               7/04
                                                     STANDARD FORM OF STORE LEASE
                                                                The Real Estate Board of New York, Inc.
                                                                                                                                    I
         J\gnement of ~ease, made as of this                      19th day of          December  in the year 2014 , between
          Dino & Sons Realty Corp. ("Owner" or "Landlord") of 1590 Troy Avenue, Brooklyn, NY ·11234
          party of the first part, hereinafter referred to as OWNER. and                        --'
          Scorpion Fitness Inc. ("Tenant") and Scorpion Club Ventures LLC of 325 Fifth Avenue, New York, NY 10016
          jointly and severallyparty of the second part, hereinafter referred to as TENANT,
         ~itnes!!ieth:            Owner hereby leases to Tenant and Tenant hereby hires from °"11er
          part of the ground floor, mezzanine and lower level as shown in Exhibit "A", attached hereto and made a part hereof
         in the building known as and located at 220 Fifth Avenue
         in the Borough of Manhattan                        , City of New York, for the term of
                         about fifteen (15) years and seven (7) months (the "Tenn") as defined in Article 41
         (or until such term shall sooner cease and expire as hereinafter provided) to commence on the
          the "Commencement Date" defined in Article 4 l and to end on the
          the "Expiration Date" defined in Article 41
         both dates inclusive, at the annual rental rate of
         $212,477.30 per year from the Commencement Date to the last day of the fourth (4th) "Lease Year" (defined in Article 41);
         $262,477.30 per year from the first day of the fifth (5th) Lease Year to the last day of the ninth (9th) Lease Year;
         $276,477.30 per year from the firts day of the tenth (10th) Lease Year to the Expiration Date,

        (hereinafter called the "Base Rent" subject to adjustments as described in Article 41)
         which Tenant agrees to pay in lawful money of the United States which shall be legal tender in payment of all debts and dues,
         public and private, at the time of payment, in equal monthly installments in advance on the first day of each month during
         said term, at the office of Owner or such other place as °"1ler may designate, without any setoff or deduction whatsoever,
         except that Tenant shall pay the first $17,706.44 monthly installrnent(s) on the execution hereof (unless this lease be a renewal).
                  In the event that, at the commencement of the term of this lease, or thereafter, Tenant shall be in default in the
         payment of rent to Owner pursuant to the terms of another lease with Owner or with Owner's predecessor in interest, Owner
         may at Owner's option and without notice to Tenant add the amount of such arrears to any monthly installment of rent
         payable hereunder and the same shall be payable to Owner as additional rent.
                  The parties hereto, for themselves, their heirs, distributes, executors, administrators, legal representative, successors
         and assigns, hereby covenant as follows:

         Rent:                   1. Tenant shall pay the rent as above and as hereinafter provided.
        Occupancy:               2. Tenant shall use and occupy the demised premises for
        a physical fitness center as the primary use and incidental sale of fitness apparel and refreshments as secondary uses
        and for no other purpose. Tenant shall at all times conduct its business in a high grade and reputable manner, shall not violate Article 37 hereof, and
        shall keep show windows and signs in a neat and clean condition.

        Alterations:             3. Tenant shall make no changes in or to the               the f!Xtures and appurtenances therein. and the sidewalks adjacent thereto,
                                 demised premises of any nature without Owner ·s            and at its sole cost and expense, make all non-structural repairs thereto as
        prior written consent. Subject to the prior writren consent of <Mner, and           and when needed to preserve them in good working order and condition,
        to the provisions of this article, Tenant, at Tenant's expense, may make            reasonable wear and tear, obsolescence and damage from the elements,
        alterations, installations, additions or improvements which are non-                fire or other casualty, e,ccepted. If the demised premises be or become
        structural and which do not affoct utility services or plumbing and                 infested with vennin, Tcmant shall at Tenant's expense, cause the same to
        electrical lines, in or to the interior of the demised premises by using            be exterminated from time to time to the satisfw.-1:J.on of Owner. Except as
        contractors or mechanics first approved in each instance by OWner. Tenant           specifically provided in Article 9 or elsewhere in this lease, there shall be
        shall, before making any aherations, additions, installations or                    no allowance to the Tenant for the diminution of rental value and no
        improvements, at its expeme, obtain all permits, approvals and certificates         liability on the part of Owner by reason of inconvenience, annoyance or
        required by any governmental or quasi-governmental bodies and (upon                 injury to business arising from Owner. Tenant or otb<Qi. making or failing
        completion) certificates of final approval thereof, and shall deliver               to make any repairs, alterations, additions or improvements in or to any
        promptly duplicates of all such pennits, approvals and certificates to              portion of the building. including the erection or operation of any crane,
        Owner, and Tenant agrees to carry, and will cause Tenant's cootractors and          derrick or sidewalk shed, or in or to the demised premises or the fixtures,
        sub--contractors to carry, such worker's compensation, commercial general           appurtenances or equipment thereof It is specifically agreed that Tenant
        liability. personal and property damage insurance as Owner may require.             shall be not entitled to any set off or reduction of rent by reason of any
        If an mechanic's lien is filed against the demised premises, or the building        failure of Owner to comply with the covenants of this or any other article
        of which the same fonns a part, for work claimed to have been done for,             of this lease. Tenant agrees that Tenant's sole remedy at law in such
        or materials furnished to, Tenant, whether OT not done pursuant to this             instance will be by way of an action for damages for breach of contract.
        article, the same shall be discha,ged by Tenant within 30 days 1horeafter,          The provisions ofthis Article 4 with respect to the making of repairs shall
        at Tenant's expense, by payment or filing a bond as pennined by law. All            not apply in the case of fire or oth~ casualty, which are dealt with in
        fixtures and all paneling. partitions, railings and like installations. installed   Article 9 hereof.
        in the demised premises at any time, either by Tenant or by Owner on
        Tenant's behalf, shall, upon installation, .become the property of Owner            Window                   5. Tenant will not clean nor require, pemtit.
        and shall remain upon and be surrendered with the demised premises                   Cleanlnc:               suffer or allow any window in the demised
        unless Owner, by notice to Tenant no later than twenty days prior to the                                     premises to be cleaned from the outside in
        date fixed as the termination of this lease, elects to relinquish Owner's           violation of ScX:t.ion 202 of the New York Sta~ Labor law or any other
        rigbls thereto and to have them removed by Tenan~ in which event, the               llj)plicable law or of the Rules of the Board of Standards and Appeals, or
        same shall be removed from the demised premises by Tenant prior to the              of any other Board or body having or asserting jurisdiction.
        expiration of the lease, at Tenant's expense. Nothing in this article shall be
        construed to give Owner title to, or to prevent Tonant's removal of, trade          Requirements               6. Prior to the commencement of the lease torm,
        fi><tures, moveable office fwnitun, and equipmen~ but upon removal of               of Law Fire                if Tenant is !hon in possession, and at all times
        same from the demised premises or upon removal of other installations as            In,u.,.;.ce:               thereafter, Tenant. at Tenant's s~le cost and
        may be required by Owner, Tenant shall immediately and at its expense,                                         expense, shall promptly comply with all present
        repair and restore the demised l"Olllises to the condition existing prior to        and future laws, orders and regulations of all state, fedeial, municipal and
        any such installations, and repair any damage to the demised premises or            local governments, departments, commissions and boards and any
        the building duo to such removal. All property pennitted or required to be          direc-tion of any public officer pursuant to law. and all orders, rules and
        removed by Tenant at the end of the tenn remaining in tlie demised                  regulations of the New York Board of Fire Underwritm or the Insurance
        premises atler Tenant\ removal shall be deemed abandoned and may, at                 Services Office, or any similar body which shall impose any violations.
        the electioo of Owner, either be retained as Owner's property or may be             order or duty upon Owner or Tenant with respect to the demised premises,
        removed from the demised premises by Owner at Tenant's expense.                     and with respect to the portion of the si<Liwalk adjacent to the demised
                                                                                            premises, if the demised premises are on the street leve~ whether or not
        Repaln:                   4. Owner shall maintain and repair the public             arising out of Tenant's use or manner of use thereof, or with respect to the
                                  portions of the building, both exterior and               building, if arising out of Tenant's use or manner of use of the demised
        interior, eKcept that if Owner allows Tenant to erect oo the outside of the         premises or 1ho building (including the use permitted under the lease).
        building a sign or signs, or a hois~ lift or sidewalk elevator for the              E,ccept as provided in Article 29 hereof, nothing ~in shall require
        ei<elusive use of Tenant. Tenant shall maintain such exterior installations         Tenant to mw structural repairs or alterations unless Tenant has by its
        in good aepeanmce, shall cause the same to be operated in a good and                manner of use of the demised premises or method of operation therein.
        workm.anlib manner, shall make all repairs thereto necessa,y to keep                violated any such laws, ordinances, orders, rules, regulations or
        same in good order and condition, at Tenant's own cost and expense, ana             requirements with respect thereto. Tenant shall not do or permit any act or
        shall cause the same to be covered by the insurance provided for hereafter          thing to be done in or to the demised premises which is contrary to law, or
        in Article 8. Tenant shall, throurut the tenn of the lease, take good care
        of the demised premises (including, without limitation, the storefront) and

                                                                                                                                                                   a
                                                                                            which will invalidate or be in conflict with public liability, fire or other
                                                                                            policies of insurance at any time canied by or for the benefrt of Owner, or

      Landlord shall not unreasonably withhold or delay approval of Tenant's exterior signage.

         PAGE    1                                                                                   PLEASE INITIAL HERE: LANDLORD                 D        T~
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          O\\ner shall request a subordination nondisturbance and attornment agreement from the holder of the existing mortgage
          but any counsel fees or other expenses of the mortgagee in connection therewith shall be paid for by Tenant.
          which shall or might subject Owner to any liability or responsibility to any         casualty. Notwithstanding anything contained to the contrary in
          person, or for property damage. Tenant shall pay all c-. expenses, fines,            subdivisions (a) through (e) hereof, including Omler's obligation to
          penalties or damages, which may be imposed upon Owner by reason of                   restore under subparagraph (b) above, each party shall look first to any
          Tenant's failure to comply with the provisions of this article. lfthe fire           insurance in its favor before making any claim against the other party for
          insurance rate shall, at the beginning of the lease, or at any time thereafter,      recovery for loss or damage resulting from fire or other casualty, and to the
          be higher than it otherwise would be, then Tenant shall reimburse Owner.             extent that such insurance is in force and collectible, and to the extent
          as additional rent hereunder, for that portion of all fire insurance premiums        permitted by law, Owner and Tenant each hereby releases and waives all
          thereafter paid by Owner which shall have been charged because of such               right of recovery with respect to subparagraph, (b), (d) and (e) above,
          failure by Tenant, to comply with the terms of this article. In any action           against the other, or any one claiming through or under each of them by
          or proceeding wherein Owner and Tenant are parti.:s, a schedule or "'make-           way of subrogation or otherwise. The release and waiver herein refen-ed to
          up" of rate for the building or the demised premises issued by a body                shall be deemed to include any loss or damage to the demised premises
          making fire inswance rates applicable to said demised premises shall be              and/or to any personal property, equipment, trade fixtures, goods and
          conclWllve evidence of the facts therein stated and of the sever.tl items and        merchandise located therein. The foregoing releue and waiver shall be in
          charges in the fire insurance rate than applicable to said demised premises.         force only if both releasors • insurance policies contain a clause providing
                                                                                               that such a release or waiver shall not invalidate the insurance. T ~
          Sub-                        7. This lease is subject and subordinate to all          acknowledges that Owner will not carry insurance on Tenant's furniture
          onlinatloo:             ground or wulerlying leases and to all mortgages             and/or furnishings or any fixtures or equipment improvements, or
                                  which may now or hereafkr affect such leases or              appurtenances removable by Tenant, and agrees that Owner will not be
          the real property of which the demised premises are a part, and to all               obligated to repair any damage thereto     or   replace the same. (t) Tenant
          renewals, modifications, consolidations, replacements and extemiom of                hereby waives the provisions of Section 227 of the Real Property Law and
          any such underlying leases and mortgages. This clause shall be self.                 agrees that the provisions of this article shall govern and control in lieu
          operative and no further instnunent of subordination shall be requin:d by            thereof.
          any ground or underlying lessor or by any mortgagee, affecting any lease
                                                                                               Eminent                   10. If the whole or any part of the demised
          ~~:n~=~~fo!1;e!m~i:1~:=e:~e:1-ecu~                                                   Domain:                   premises shall be acquired or condemned by
                     that
          promptly any certificate        Owner may request
                                                                                               ~e or purpose, then a n d = ~ : ~ : ~ ~           ~hJs°f!e°:Jiiu~:J~~d
          Tenant's                    8. Owner or its agents shall not be liable for any       terminate from the date of title vesting in such proceeding, and Tenant
          Liability                   damage to property of Tenant or of others                shall have no claim for the value of any unexpired tenn of said lease.
          Insurance                   entru&ed to employees of the building, nor for           Tenant shall have the right to make an independent claim to the
                                                                                               condemning authority for the value of Tenant's movin& expenses and
          Property Loss,              loss of, or damage to, any property of Tenant by         personal property, trade fixtures and equipment. provided Tenant is
          Damage,                     theft or other wise, nor for any injury or damage
                                                                                               entitled pursuant to the terms of the lease to remove such property, trade
          Indemnity:                  to pernons or property resulting from any cause of       fixtures and equipment at the end of the term, and provided fur1her such
                                  whatsoever nature, unless caused by or due to the
       negligence of Owner, its agents, servants or employees. Owner or its                    claim does not reduce Owner's award.
       agents will not be liable for any such damage caused by other tenants or                Assignment,               11. Tenant for itself, its heirs, distributes,
       persons in, upon or about said building, or caused by operations in                      Mortgage.                executors, administrators, legal representatives,
       construction of any private, public or quasi public work. Tenant agrees, at              Ek.:                     successors and assigns expressly covenants that it
       Tenant's sole cost and expense, to maintain commercial general liability                                          shall not assign, mortgage or encumber this
       insurance in standard form in favor of Owner and Tenant against claims                  agreement, nor underlet. or suffer or pennit the demised premises or any
       for bodily injury or death or property damage occurring in or upon the                  part thereof to be used by others, without the prior written consent of
     ~ demised premises, effective from the date Tenant enters into ~sion of                   Owner in each instance. Transfer ofthe majority of the stock of a corporate
     = the demised emises and dwin the term of this le~. Such insurance                        tenant or the majority interest in any partnership or other legal entity which
     ~            m an amoun an wt came               ceptable to the Owner. Such              is tenant shaU be deemed an assignment If this lease be assigned, or ifthe
     ~ policy or policies shall be delivered to the Owner. On Tenant's default in              demised premises or any part thereof be underlet or occupied by anybody
       obtaining or delivering any such policy or policies or failure to pay the               other than Tenant. Owner may, after defauh by Tenant, collect rent from
                                          ecure or pay the charges for any such                the assignee, under.tenant or occupant. and apply the net amount collected
     8 po 1cy or po 1c1es an c e the Tenant as additional rent therefore.                      to the rent herein reserved, but no such assignment, underletting
    ·- Tenant shall indemnify and save hannless Owner against and from all                     occupancy or collection shall be deemed a waiver of the covenant, or the
    "g liabilities. obligations, damages, penalties, claims, costs and expenses for            acceptance ofthe assignee, under•tenanl or occupant as tenant, or a release
          which Owner shall not be reimbursed by inswance, including reasonable                ofTfflalltfrom the further performance by Tenant of covenants on the part
          attorneys• fees, paid. suffered or incurred as a result of any breach by             of Tenarn herein contained. The consent by Owner to an assignment or
          Tenant, TiIDant's agent, contractors, employees, invitees, or licensees, of          tmderletting shall not in any way be construed to relieve Tenant from
          any covenant on condition of this lease or by the carelessness, negligence           obtaining the express consent in writing of Owner to any further
          or improper conduct of the Tenant, Tenant"s agents, contractors,                     assignment or W1derletting.
          employees, invitees or licensees. Tenant's liability under this lease extends
          to the acts and omissions of any subtenant and any agent contractor.                 Electric                  12.   Rates and conditions in respect to
          employee, invitee or licensee of any subtenant In case any action or                 CulTfflt:                 submetering or rent inclusion. as the case may
     iu   proceeding is brought against Owner by reason of any such claim, Tenant                                        be, to be added in RIDER attached hereto. Tenant
    ~     upon written notice from Owner, wil~ at Tenant's expense, resist or defend
                                                                                                                        covenants and agrees that at all times its use of
                                                                                               electric CWTent shall not exceed the capacity of existing feeders to the
    iw    such action or proceeding by counsel approved by Owner in writing, such
          approval not to be unreasonably withheld.                                            ~~~~t   :.:~:whlch::~~sat~:dreT~:ilk?X:~~:                               !Ifi
          Destruction,               ~. (a) tfthe demised premises or any part thereof         overload such installations or interfere with the ~e thereof by other
                                     shall be damaged by fire or other casualty, Tenant        tenants of the building. The change at any time of the character of electric
          Fire,                                                                                service shall in no way make Owner liable or responsible to Tenant. for
          and Other                  shall give immediate notice thereof to Owner and
                                     this lease shall continue in full force and effect        any loss, damages or expenses which Tenant may sustain.
          Casualty:
                                     except as hereinafter set forth. (b) if the demised    Landlord shall not wrreasonably withhold or delay consent for Tenant
                                                                                            to bring in more power at Tenant's expense if necessary and reasonable.
          ~:=~~tt~~ :::li:~~::;liW:Od°!1~~:"n:                                                  Access to         * 13. Owner or Owner's agfflts shall have the right
          of Owner, and the rent and other items of additional rent, l.D11:il such repair       Preml,..:           (but shall not be obligated) to enrer the demised
          shall be substantially completed, shall be apportioned from the day                                           premises in any emergency at any time, and. at
          following the casuahy according to the part of the demised premises which            other reasonable times, to examine the same and to make such repairs,
          is usable. (c) tfthe demised premises an: totally damaged or rendered                replacements and improvements as Owner may deem necessary and
          wholly unusable by fire or other casualty, then the rent and other items of          reasonably desirable to any portion of the building or which Owner may
          additional rent as hereinafter expressly provided shall be proportionately
          paid up to the time of the casualty and thenceforth shall cease until the date       = t ~ = o ~ : : r ~d:;8w~!C:::r~t"~~fbI:1,!J~~~~
          when the demised premises shall have been repaired and restored by                   under this lease, or for the purpose of complying with laws, regulations
          Owner (or sooner reoccupied in part by the Tenant then rent shall be                 and other directions of governmental authorities. Tenant shall permit
          apportioned as provided in subsection (b) above}.. subject to Owner's right          Owner to use and maintain and replace pipes and conduits in and throu~
          to elect not to restore the same as hereinafkr provided. (d) If the demised          the demised premises and to «ect new pipes, ducts, and conduits therein.
          premises are rendered wholly unusable or (whether or not the demised                 provickd they are concealed within the walls, floors or ceiling, wherever
          premises are damaged in whole or in part) if the buildin~ shall be so                prcM.,1:icable. Owner may. during the progress of any work in the demised
          damaged that Owner shall decide to demolish it or to rebuild i~ then, in             premises, take all necessary materials and equipment into said premises
          any of such events, Owner may elect lo terminate this lease by written               without the same constituting an eviction, nor shaU the Tenant be entitled
          notice to Tenant given within 90 days after such fire or casualty or 30 days         to any abatement of rent while such work is in progress, nor to any
          after adjustment of the insunru:e claim for such fn'e or casualty, whichever         damages by reason of loss or interruption of business or
          is sooner, specifying a date for the expiration of the lease, which date shall       otherwise. Throughout the tem, hereof Owner shall have the ~t to enter
                                                                                               ~~=!~;!:r=.ro~~~~";.~~M:g, andi~:
          not be more than 60 days after the givin~ of such notice, and llpOI! the date
          specified in such notice the term of this lease shall expin: as fully and
          completely as if such date were the date sot forth above for the termination         the last six months of the tenn for the .P."'l"'"e of showing the same to
          of this lease and Tenant shall forthwith qun, surrender and vacate the               prospective tenants, and may, d ~ said SIX months period, place upon
          demised premises without prejudice however, to Owner's rights and                    the demised premises tho usual notice ''to Let" and "For Sale", which
          remedies against Tenant under the lease provisions in effect prior to such           notices Tenant shall pennit to remain thereon without molestation. If
          termination, and any rent owing shall be paid up to such date and any                Tenant is not present to '.'I""' and pemtit an enlry into the demised
          payments of rent made by Tenant which were on account of any period                  premises. Owner or Owner s agents may ent« the same whenever such
          subsequent to such date shall be returned to Tenant. Unless Owner shall              entry may be necessary or permissible, by master key or forcibly, and
          serve a tennination notice as provided for herein, Owner shall maloo tho             provided reasonable care is exon:isod to safeguard Tenant's property, such
          repairs and restorations under the oondnions of (b) and (c) hereof, with all         entry shall not render owner or its agents liable therefore, nqr in any event
          reasonable expedition subject to delays due to acljustment of insurance              shall tho obligations of Tenant hereunder be affected. if during the last
          claims, labor troubles and causes bey?nd Owner's control. After any such             month of the term Tenant shall have removed all or substantially all of
          casualty, Tenant shall cooperate with Owner's restoration by removing                Tenant's property therefrom, Owner may immediately enter. alter,
          ftom the premises as promptly as reasonably possible, all of Tenant's                renovate or redecorate the demised premises without limitation or
          salvageable inventory and movable equipment, furniture, and other                    abatoment of rent, or incurring. liability to Tenant for any compensation,
          property. Tenant's liability for rent shall resun,e five (5) days after written      and such ect shall have no effect on this lease or Tenant's obligations
          notice from Owner that the demised premises are substantially ready for              hereunder. Owner shall have the right at any time, without the same
          Tenant's oocuparu:y. (e) Nothing oontained hereinabove shall relieve                 constituting an eviction and without inourring liability to Tenant therefore,
          Tenant fiom liability that may exist as a resuh of damage from fire or other         to change the arrangement and/or location of public entrances,
                                                                                               pa.,sageways. doors, doorways, corridors, elevators, stan, toilets, or other
           1
               :? ~-~~ ·   Rider to be added If necessary
               • Qy.ner's access to the demised premises shall be on reasonable prior notice (which may be oral) except
                  access in an emergency may be without prior notice. Landlord's reconfiguration and alteration under A r t13i c ~ e
                  shall result in only a de minimus pennanent reduction of Tenant's floor area which reduction does not materially inte
          PAGE 2
                  with Tenant's use of the Demised Premises.
                                                                                                           PLEASE INITIAL HERE: LANDLORD
                                                                                                                                                         D        TEN            .
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                       public parts of the building, and to change the name, number or                   Remedie!I of             18. In case of any such default, re-entry,
                       designation by which the building may be known.                                   Owner and                expiration and/or dispossess by summary
                                                                                                         Waiver of                proceedings or otherwise, (a) the rent. and
                       Vault,                    14. No vaults, vault space or area, whether or not      Redemption:              additional rent, shall become due thereupon and
                       Vault Space,               enclosed or covered, not within the property line                               be paid up to the time of such re-entry,
                       Area~                      of the building, is leased hereunder, anything         dispossess and/or expiration, (b) Owner may re-le1 the demised premises
                                                  contained in or indicated on any sketch. blue print    or any part or parts thereof. either in the name of Owner or otherwise,
                       or plan, or anything contained elsewhere in this lease to 1he contrary            for a term or terms, which may at Owner's option be less than or exceed
                       notwithstanding. Owner makes no representation as to the location of the          the period which would otherwise have constituted the balance of the
                       property line: of the building. All vaults and vault space and all such areas     tenn of this lease, and may grant concessions or free rent or charge a
                       not wrthin the property line of the building, which Tenant may be                 higher rental than that in this lease, and/or (c) Tenant or the legal
                       permitted to use and/or occupy. is to be used and/or occupied Wlder a             representatives of Tenant shall also pay Owner, as liquidated damages,
                       revocable license, and if any such license be revoked, or if the amount of        for the failure of Tenant to observe and perfonn s.aid Tenant's covenants
                       such space or area be diminished or required by any federal. state or             herein contained, any deficiency between the rent hereby reserved
                       municipal authority or public utility, Owner shall not be subject to any          and/or covenanted to be paid and the net amount, if any, of the rents
                       liabilrty, nor shall Tenant be entitled to any compensation or diminution or      collected on account of the subsequent lease or leases of the demised
                       abatement of rent, nor shall such revocation, diminution or requisition be        premises for each month of the period which would otherwise have
                       deemed constructive or actual eviction. Any tax. fee or charge of                 constituted the balance of the tenn of this lea.,e. The failure of Owner to
                       municipal authorities for such vault area shall be paid by Tenant.                re-let the demised premises or any part or parts thereof shall not release
                                                                                                         or affect Tenant's liability for damages. In computing such liquidated
                       Occupancy:                 15. Tenant will not at any time use or occupy the      damages there shall be added to the said deficiency such expenses as
                                                  demised premises in violation of Articles 2 or 37      Owner may incur in connection with re-letting, such as legal expenses,
                       hereof, or of the certificate of °"-cupancy issued for the building of which      reasonable attorney's fees, brokerage, advertising and for keepmg the
                       the demised premises are a part. Tenant has inspected the demised                 demised premises in good order, or for preparing the same for re-letting.
                       premises and accepts them "as-is", subject to the riders armexed hereto           Any such liquidated damages shall be paid in monthly installments by
                       with respect to Owner's work, if any. In any event, Owner makes no                Tenant on the rent day specified in this lease. Owner, in putting the
                       representation as to the condition of the demised premises, and Tenant            demised premises in good order or preparing the same for re-rental may,
                       agrees to accept the same subject to violations, whether or not of record.        at Owner's option. make such alterations. repairs. replacements. and/or
                                                                                                         decorations m the demised premises as Owner, in Owner's sole
                       Bankruptcy:            16. (a) Anything elsewhere in this lease to the            judgment, considers advisable and necessary for the purpose of re-letting
                                              contrary notwithstanding, this lease may be                the demised premises, and the making of such alterations, repairs,
                       cancelled by Landlord by the sending of a written notice to Tenant wrthin         replacements, and/or decorations shall not operate or be construed to
                       a reasonable time after the happening of any one or more of the following         release Tenant from liability. Owner shall in no event be liable, in any
                       events: (1) the commencement of a ca.,e in bankruptcy or wider the laws           way whatsoever, for failure to re-let the demised premises, or in the
                       of any state naming Tenant (or a guarantor of any of Tenant's obligations         event that the demised premises are re-let, for failure to collect the rent
                       under this lease) as the debtor, or (2) the making by Tenant (or a guarantor      thereof under such re-letting, and in no event shall Tenant be entitled to
                       of any of Tenant's obligations under this lease) of an assignment or any          receive any excess, if any, of such net rent collected over the sums
                       other arrangement for the benefit of creditors under any st.th! statute.          payable by Tenant to Owner hereunder. In the event of a breach or
                       Neither Tenant nor any person claiming through or under Tenant, or by             threatened breach by Tenant of any of the covenants or provisions
                       reason of any statute or order of court, shall thereafter be entitled to          hereof, Owner shall have the right of injunction and the right to invoke
                       possession of the premises demised but shall forthwith quit and surrender         any remedy allowed at law or in equity as if re-entry, summary
                       the demised prermses. If this lease shall be assigned in accordance with its      proceedings and other remedies were not herein provided for. Mention
                       terms, the provisions ofthis Article 16 shall be applicable only to the party     m this lease of any particular remedy, shall not preclude Owner from any
                       then owning Tenant's interest in this lease.                                      other remedy, in law or in equity. Tenant hereby expressly waives any
                                                 (b) It is stipulated and agreed that in the event of    and all rights of redemption granted by or W1der any present or future
                       the termination of this lease pursuant to (a) hereof, Owner shall forthwith,      laws.
                       notwithstanding any other provisions of this lease to the contrary, be
                       entitled to recover from Tenant, as and for liquidated damages, an amount         Fees and                  19. If Tenant shall defalllt in the observance or
                       equal to the difference between the rent reserved hereWider for the               Expenses:                 performance of any term or covenant on
                       unexpired portion of the tenn demised and the fair and reasonable rental                                    Tenant's part to be observed or performed
                       value of the demised premises for the same period. In the computation of          under, or by virtue of, any of the terms or provisions in any article of this
                       such damages the difference between any instalhnent of rent becoming due          lease. after notice if required. and upon expiration of any applicable
                       hereunder after the date of tennination and the fair and reasonable rental        grace period if any, (except in an emergency), then, ooless othetwise
                       value of the demised premises for the period for which such installment was       provided elsewhere in this lease, Owner may immediately, or at any time
                       payable shall be discounted to the date of termination at the rate of four        thereafter, and without notice, perfonn the obligation of Tenant
                       percent (4%) per annum. If the demised premises, or any part thereof, be          thereunder, and if Owner, in connection therewith or in connection with
                       re-let by the Owner for the ooexpired term of said lease, or any part thereof:    any default by Tenant in the covenant to pay rent heremder, makes any
                       before presentation of proof of such liquidated damages to any court,             expenditures or incms any obligations for the payment of money,
                       commission or tribunal, the amount of rent reserved upon such re-letting          including but not limited to reasonable attomo/·s fees, in imtituting,
                       shall be deemed to be the fair and reasonable rental value for the part or the    prosecuting or defending any ai..'1:ions or proceedmg, and prevails in any
                       whole of the demised premises so re-let during the term of the re-letting.
                       Nothing herein contained shall limit or prejudice the right of the O.Vner to
                       prove for and obtain as liquidated damages, by reason of such termination,
                                                                                                         ~: :~~t      0
                                                                                                                       ~r~:d!r!-u si:~:::dst~          ~i~t~~~~h=:i~
                                                                                                         and shall be paid by Tenant to Owner within ten (10) days ofrendition
                       an amount equal to the maximum allowed by any statute or rule of law in           of any bill or statement to Tenant therefore, and if Tenant's lease term
                       effect at the time when, and governing the proceedings in which. such             shall have expired at the time of making of such expenditures or
                       damages are to be proved, whether or not such amount be greater, equal to,        incurring of such obligations, such sums shall be recoverable by Owner
                       or les.s than the amount of the difference referred to above.                     as damages.

                       Default:                  17. (1) If Tenant defaults in fulftlling any of the     No Repre-                20. Neither Owner nor Owner's a~ent have
                                                 covenants of this lease other than the covenants        sentations               made any representations or promises with
                       for the payment of rent or additional rent; or if the demised premis,s            by Owner:                respect to the physical condition of the building,
                       become vacant or deserted; or if any exa...--ution or attachment shaU be issued                            the land upon which it is erected or the demised
                       against Tenant or any of Tenant's property, whereupon the demised                 premises, the rents, leases, expenses of operation,. or any other matter or
                       premises shall be taken or occupied by someone other than Tenant; or if this      thing affecting or related to the demised premises, except as herein
                       lease be rejected under Section 365 of Trtle 11 of the U.S. Code                  expressly set forth, and no rights, easements or licenses are acquired by
                       (Bankruptcy Code); orifTenantshall have failed, after five (5)days wmten
                       notice, to redeposit with Owner any portion of the security deposit               ~:=\!is ~F~: it:~;.1       0
                                                                                                                                    ¥1:s~x:r~::i:C.xpili:s~uild\!~~t ~:
                       hereunder which Owner has applied to the payment of any rent and                  demised premises and is thorou~ly acquainted with their condition,
                       additional rent due and payable hereooder, or if Tenant shall be in default       and agrees to take the same ..as-1s", and acknowledges that the taking
                       with respect to any other lease between Owner and tenant; or if Tenant shall      of possession of the demised premises by Tenant shall be conclusive
                       fail to move into or take possession of the demised premises within thirty        evidence that the said premises and the building of which the same fonn
                       (30) days after the commencement of the tenn of this lease, of which fact         a part were in good and satisfactory condition at the time such
                       Owner shall be the sole judge; then, in any one or more of such events,           possession was so taken. except as to latent defects. All understandings
                       upon Owner serving a written fifteen (15) day notice upon Tenant                  and agreements heretofore made between the parties hereto are merged
                       specifying the nature of said defaul~ and upon the expiration of said fifteen     in this contract, which alone fully and completely expresses the
                       (15) days. if Tenant shall have failed to comply with or remedy such              agreement between Owner and Tenant, and any executory agreement
                       default, or if the said default or omission complained of shall be ofa nature     hereafter made shall be ineffective to change, modify, discharge or
                       that the same cannot be completely cured or remedied within said fifteen          effect an abandonment of it in whole or in part, unless such executory
                       (15) day period. and if Tenant shall not have diligently commenced curing         agreement is in writing and signed by the party against whom
                       such defauh within such fifteen (15) day period, and shall not thereafter         enforcement of the change, modification. discharge or abandonment is
                       with reasonable diligence and in good farth proceed to remedy or cure such        sought.
                       default, then Owner may serve a written five (5) days notice of cancellation
                       ofthis lease upon Tenant, and upon the expiration of said five (5) days, this     End of                    21. Upon the expiration or other termination of
                       lease and the term thereunder shall end and expire as fully and completely        Tenn:                     the term of this lease, Tenant shall quit and
                       as if the expiration of such five (5) day period were the day herein definitely                             surrender to Owner the demised premises,
                       fixed for the end and expiration of this lease and the term thereof and           "broom-clean", in good order and condition, ordinary wear excepted, and
                       Tenant shall then quit and surrender the demised preruises to Owner. but          Tenant shall remove all ib. property. Tenant's obligation to observe or
                       Tenant shall remain liable as hereinafter provided.                               perfonn this covenant shall swvive the expiration or other tennination of
                                                  (2) If the notice provided for in (I) hereof shall     this lease. If the last day of the term of this lease or any renewal thereof,
                       have been given, and the tenn shall expire as aforesaid; or if Tenant shall       falls on Sunday, this lease shall expire at noon on lhe preceding Saturday,
                       make default in the payment of the rent reserved herein, or any item of           unless it be a legal holiday, in which case it shall expire at noon on the
                       additional rent herein mentioned, or any part of either, or in making any         preceding business day.
                       other payment herein required; then, and in any of such events, Owner
                       may without notice, re-enter the demised premises either by force or              Quiet                     22.   Owner covenants and agrees with Tenant
                       otherwise, and dispossess Tenant by summary proceedings or otherwise,             Enjoyment:                that upon Tenant paying the rent and additional
                       and the legal representative of Tenant or other occupant of the demised                                     rent and observing and perfonning all the tenns,
                       premises, and remove their effects and hold the demised premises as if this       covenants and conditions, on Tenant's part to be observed and performed,
                       lease had not been made, and Tenant hereby waives the service of notice of        Tenant may peaceable and quietly enjoy the premises hereby demised,
                       intention to re-enter or to institute legal proceOOings to that end.              subject, nevertheless. to the terms and conditions of this lease including.




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                       Landlord represents that the demised premises is now vacant and that Landlord's Work shall be completed with
                       commercially reasonable diligence subject to delays bevond Landlord's reasonable control.
                       but not limited to, Article 33 hereof and to the ground leases, underlying        Article. Al Owner's option, notices and bills to Tenant may be sent by
                       leases and mortgages hereinbefore mentioned.                                      hand delivery.
                       Fallure to               23.    Owner is unable to give possession of the         Water                    28. If Tenant requires, uses or conswnes water
                       Give                     demised premises on the date of the                      Charges:                 for any purpose_ in addition to ord~81)' lavatory
                       Possession:              commencement of the tenn hereof, because of                                       purposes (of which fact Tenant consl!tutes Owner
                                                the holding-over or retention of possession of any       to be the sole judge) Owner may install a water meter and thereby measure
                       tenant, undertenant or occupants, or if the demised premises are located in       Tenant's water consumption for all purposes. Tenant shall pay Owner for
                       a building being constructed, because such building has not been                  the cost ofthe meter and the cost ofthe installation thereof, and throughout
                       sufficiently completed to make the demised premises ready for occupancy,          the duration of the Tenant's occupancy Tenant shall keep said meter and
                       or because of the fact that a certificate of occupancy has not been procured,     installation equipment in good working order and repair at Tenant's own
                       or for any other reasoo. Owner shall not be subject lo any liability for          cost and expense. Tenant agrees to pay for water consumed, as shown on
                       failure to give possession on said date and the validity of the lease shall not   said meter, as and when bills are rendered. Tenant covenants and agrees to
                       be impaired mder such cin:umstances, nor shall the same be construed in           pay the sewer rent. charge or any other tax, rent, levy or charge which now
                       any way to extend the term of this lease, but the rent payable herelDtder         or hereafter is assessed, imposed or a lien upon the demised premises or
                       shall be abated (provided Tenant is not responsible for the inability to          the realty of which they are part pursuant to law, order or regulation made
                       obtain possesaion or complete construction) until after Owner shall have          or issued in connection with the use. conswnption., maintenance or supply
                       given Timant written notice that the Owner is able to deliver possession in       of water, water system or sewage or sewage connection or system. The bill
                       the condition required by this lease. If permission is given to Tenant to         rendered by Owner shall be payable by Tenant as additional rent. If the
                       enter into the possession of the demised premises or to occupy premises           building or the demised premises, or any part thereof, be supplied with
                       other than the demised premises prior to the date specified as the                water through a meter through which water is also supplied to other
                       commencement of the term of this lease, Tenant covenants and agrees that          premises, Tenant shall pay to Owner as additional rent, on the first day of
                       such possession and/or occupancy shall be deemed to be mder all the               each month. Landlord to install the water meter at its expense.
                       terms, covenants. conditions and provisions of this lease, except the              -  .•C"""°"                     %        - ($                         )
                       obligation to pay the fixed annual rent set forth in page one of this lease.        ::F~W         of the total meter charges, as Tenant's portion.
                       The provisions of this article are intended to constitute "an express             Independently of, and in addition to, anv of the remedies reserved to
                       provision to the contrary" wilhin the meaning of Section 223·a of the New         OWner hereinabove or elsewhere in this lease, Ovmer may sue for and
                       York Real Property Law.                                                           collect any monies to be paid by Tenant or paid by Owner for any of the
                                                                                                         reasons or purposes hereinabove set forth.
                        No Waiver:              24. The failure of Owner to seek redress for
                                                violation of, or to insist upon the strict               Sprinklers:              29. Anything elsewhere in this lease to the
                       performance of any covenant or condition of this lease or of any of the                                    contrary notwithstanding. if the New York Board
                       Rules or Regulations set forth or hereafter adopted by Owner, shall not           of Fire lindelWritm or the Insurance Se!vices Office, or any bureau,
                       prevent a subsequent act which would have originally constituted a                department or official of the federal, state or city government, require or
                       violation from having all the force and effect of an original violation The       recommend the installation of a sprinkler system or that any changes.
                       receipt by Owner of rent and/or additional rent with knowledge of the             modifications, alterations, or additional sprinkler heads or other equipment
                       breach of any covenant of this lease shall not be deemed a waiver of such         be made or supplied in an existing sprinkler system byreasonofTenant's
                       breach, and no provision ofthis lease shall be deem~ to have been waived          business, or the location of partitions, trade fixtures, or other contents of
                       by Owner unless such waiver be in writing signed by Owner. No payment             the demised premises, or for any other reason, or if any such sprinkler
                       by Tenant or receipt by Owner of a lesser amount than the monthly rent            system installations, changes, modifications, alterations, additional
                       herein stieulated shall be deemed to be other than on account of the              sprinkler heads or other such equipment, becom~ necessary to prevent
                       earliest sllpulated rent. nor shall any endomement or statement of any            the imposition of a penalty or charge against the full allowance for a
                       check or any lerter accompanying any check or payment as rent be deemed           sprinkler systdl11. in the fire insurance rate set by any said Exchange or by
                       an accord and satisfaction, and Owner may accept such check or payment            any fire insurance company, Tenant shall, at Tenant's expense, promptly
                       without prejudice to Owner's right to recover the balance of such rent or         make such sprinkler system installations. changes, modifications,
                       pursue any other remedy in this leasi: provided. No act or thing done by          alterations, and supply additional sprinkler heads or other equipment as
                       Owner or Owner's agents during the tenn hereby demised shall be deemed            required, whether the work involved shall he structural or non-structural
                       in acceptance of a surrender of the demised premises and no agreement to            n..:. ~.,       in nature. Tenant shall pay to Owner as additional rent
                       accept such surrender shall be valid unless in writing signed by Owner. No          - ,a,:;,        the sum of$ 200.00              on the frrst day of each
                       employee of 0.Vner or Owner's agent shall have any power to accept the            month during the term of this lease, as Tenant ·s portion of the contract
                       keys of the demised premises prior to the termination of the lease. and the       price for sprinkler supervisory service and central station alarm fee.
                       delivery of keys to any such agent or employee shall not operate as a
                       termination of the l!i!ase or a surrender of the demised premises.                Elevators,            • JO. As long as Tenant is not in default under
                                                                                                         Heat,                   any of the covenants of this le~ beyond the
                       Waiver of                 25. It is mutually agreed by and between Owner          Oeaning:                 applicable grace period provided in this lease
                       Trial by Jury:             and Tenant that the respective ~es hereto shall                                 for the curing of such defaults. Owner shall, if
                                                  and they hereby do waive Ina! by jury in any           and insofar as existing facilities permit, furnish heat to the demised
                       action, proceeding or count!i!rclaim brou~t by either of the parties hereto       premises, when and as required by law, on business days from 8:00 a.m.
                       against the other (except for personal inJury or property damage) on any          to 6:00 pm. and on Saturdays from 8:00 a.m. to I :00 pm. Tenant shall at
                       matter.;; whatsoever arising. out of, or in any way connected with, this lease,   Tenant's expense, keep the demised premises clean and in order, to the
                       the relationship of Owner and Tenant, Tenant's use of or occupancy of the         satisfaction of Owner, and if the demised premises are situated on the
                       demised premises, and any emergency statutory or any other statutory              street floor, Tenant shall. at Tenant's own expense. make all repairs and
                       remedy. It is further mutually agreed that in the event Owner commence            replacements to the sidewalks and curbs adjacent thereto, keep said
                       any proceeding or action for possession, including a summary proceeding           sidewalks and curbs free from snow, ice, dirt and rubbish and maintain
                       for po5&:ssion of the demised premises, Tenant will not interpose any             said sidewalks in a reasonably safe condition in compliance with
                       counterclaim of whatever nature or description in any such proceeding,            requirements of law. Tenant shall pay to Owner the cost of removal of
                       including a counterclaim under Article 4, except for statutory mandatory          any of Tenant's refuse and rubbish from tho build:ing. Bills for the same
                       cowiterclaims.                                                                    shall be rendered by Owner to Tenant at such times as Owner may elect,
                                                                                                         and shall be due and payable when rendered, and the amount of such
                       Inability to           26. This lease and the obligation ofTenant to pay          bills shall be deemed to be, and be paid as, additional rent. Tenant shall,
                       Perform:               rent h!i!reunder and perform all of the other              however, have the option of independently contracting for the removal
                                              covenants and agreements hereunder on part of              of such rubbish and refuse in the event that Tenant does not wish to have
                       Tenant to be performed shall in no way be affected, impaired or excused           same done by tmployees of Owner. Cnder such circwnstances, however,
                       because OWner is unable to fulfill any of its obligations mder this lease,        the removal of such refuse and rubbish by others shall be subject to such
                       or to supply, or is delayed in supplying, any service expressly or impliedly      rules and regulations as, in the judgment of Owner, are necossary for the
                       to be supplied, or is unable to make, or is delayed in making, any repair,        proper operation of the building.
                       additions, alterations or decorations, or is unable to supply, or is delayed in
                       supplying, any equipment, fixtures or other- materials, if Owner is               Security:                31. Tenant has deposited with Owner the swn of
                       prevented or delayed from so doing by reason of strike or labor troubles,                                 $100,000.00 as security for the faithful
                       government preemption or restrictions, or by reason of any rule, order or                                   performance and observan"-e by Tenant of the
                       regulation of any department or subdivision thereof of any government                                       tenns, provisions and conditions of this lease; it
                       ~ency, or by reason of the conditions of which have been or are affected,         is agreed that in the event Tenant defaults in respect of any of the terms.
                       either directly or indirectly. by war or other emergency, or when, in the         provisions and conditions of this lease, including~ but not limited to, the
                       judgment of Owner. temporary interruption of such services is necessary           payment of rent and additional rent, Owner may use, apply or retain the
                       by reason of accident, mechanical breakdown, or to make repairs,                  whole or any part of the security so deposited to the extent required for
                       alterations or improvements.                                                      the payment of any rent and additional rent, or any other sum as to
                                                                                                         which Tenant is in default, or for any sum which Owner may expend or
                       Billi and                  27. Exce_pt as otherwise in this lease provided,       may be required to expend by reason of Tenant's dofault in respect of
                       Notlceo:                   any notice, statement, demand or other                 any of the tenns, covenants and conditions of th.is lease, includmg but
                                                  commmication required or permitted to be given,        not limited to, any damages or deficiency in the relttting of the demised
                       rendered or made 1?>' either party to the other, pllllluant to this lease or      premises, whether such damages or deficiency accrued before or after
                       p1nuant to any appltcable law or requirement of public authority, shall be        summary proceodings or other re-entry by Owner. In the case of every
                       m writing (whether or not so stated elsewhere in this lease) and shall be         such use, application or retention, Tenant shall, within five (S) days
                       deomod to have been properly given, rendered or made, if sent by                  after demand, pay to Ownor th< sum so used, applied or retained which
                       registered or certified mail (express mail, if available). return receipt         shall be added to the security deposit so that the same shall be
                       requested, or by courier guaranteeing overnight delivery and furnishing a         replenished to its former amount. In the event that Tenant shall fully and
                       receipt in evidence thereof, addressed to the other party at the address          faithfully comply with ail of the terms, provisions, covenants and
                       hereinabove set forth (except that after the date specified as the                conditions of this lease, the security shall be returned to Tenant after the
                       commencement of the term of this lease, Tenant's address, unless Tenant           date fixed as the end of the lease and after delivery of entire possession
                       shall give notice to the contrary, shall be the building), and shall be deemed    of the demised premises to Owner. In the event of a sale of the land and
                       to have been given, rendered or made (a)on the date delivered, if delivered       building or leaamg of the building. of which the demised premisos form
                       to Tenant personally, (b) on the date delivered, if delivered by overnight        a pan, Owner shall have the right to tranafer the security to the vendee
                       courier or (c) on the date which is two (2) days after being mailed. Eitlier      or lessee and Owner shall thoreupon be released by Tenant from all
                       party may, by notice as aforesaid, designate a different address or               liability for the return of such security, and Tenant agrees to look to the
                       addresses for notices, statements, demand or other communications                 new Owner solely for the return of said security; and it is agreed that
                       intended for it Notices given by Owner's managi",!! agent shall be deemed         the provisions hereof shall apply to every transfer or assignment made
                       a valid notice if addressed and set in accordance wtih the provisions of this     of the security to a new Owner. Tenant further covenants that it will not
                                                                                                         assign or encwnber or attempt to assign or encwnber the monies
                       /C:.otr        Space to be OIied In or deleted                                    deposited herein as security, and that neither Owner nor its successors


                        • Tenant is not responsible for sidewalk repair or replacement unless Tenant or its contractor damages the sidew~~

                       PAGE 4                                                                                     PLEASE INITIAL HERE: LANDLORD                 D        TEN~
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                                                         Lease with Debtors Pg 6 of 48
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                            Execution                                                                12/19/2014                                                        Page 5 of47

                          * Landlord ~ill not promulgate or enforce rules and regulations so as to unfuirly discriminate against Tenant.
                          Ifthere is any conflict between this lease and the rules and regulations, this lease shall prevail.
                          or assigns shall be bound by any such assignment. encumbrance,                     or telDJS, covenants or conditions in any other lease, as against any other
                          attempted assignment or allempled encumbrance.                                     tenant, and Ownec shall oot be liable to Tenant for violation of the same
                                                                                                             by any other tenant, i1s servants, employees, agents, ,isitors or licensees.
                           Capti•s:                 32. The Captions are inserted only as a matter of
                                                     convenience and for reference and in no way             Glass:                  36. Owner sball replace, at the expense of
                          define, limit or describe the scope of this lease nor the intent of any                                    Tenan~ any and all plate and other glass
                           provision tben:of.                                                                damaged or broken from any cause whatsoever in and about the demised
                                                                                                             premises. Owner may insure, and keep insured, at Tenant's expense, all
                          Deflaltions:               33. The lenn "Owner" as used in this lease              plate and other glass in the demised premises for and in the name of
                                                     means only the OWner, or the mortgagee in               OWner. Bills for the premi1DDS therefore shall be rendered by Owner to
                          possession, for the time being of the land and boilding (or the Owner of a         Tenant al such times as Owner may elect, and shall be due from, and
                          lease of the building or of lb., land and building) o(which the demised            payable by, Tenant when rendered, and the amount lhereof shall be
                          premises form a part. so that in the event of any sale or sales or                 deemed to be, and be paid as, additional n:nt
                          conveyance, assig,nnent or transfer of said land and boilding or of said
                          lease, or in the event of a lease of said building, or oflb., land and building,   Pom"Cl"phk                 37. Tenant agrees that the value of the demised
                          the said OWner shall be and hereby is entirely freed and relieved of all           Uses Prohibited:           premises and the n:putation of the Owner will be
                          covenams and obligations of Owner hereunder, and it shall be deemed and                                       seriously iajwed if the demised premises are
                          cooslrued without further agieement between the parties or their                   used for any obscene or pomogiapbic pwposes or any sort of commercial
                          successors in inreresl, or bdween the parties and the purchaser, grantee,          sex establishment. Tenant agrees that Tenant will not bring or permit any
                          assignee or transferee at any sodt sale, or the said lessee of the building.       obscene or pornographic material on the demised premises, and shall not
                          or of the land and building, lbat the purchaser, grantee, assignee or              permit or conduct any obscene, nude, or semi-mJde live performances on
                          traosfCRe at any socb sale, or lhe said lessee of the builclini: bas assumed       the demised premises, nor permit use of the demised premises for nude
                          and ag,:eed to cany out any and all covenants and obligaboos of Owner              modeling, rap sessions, or as a so called rubber goods shop, or as a sex
                          ben:under. The words "re-enter' and "n:-<nlrv~ as used in this lease are not       club of any sort, or as a "massage parlor." Tenant agrees further that Tenant
                          ..-icted to their k:clmical legal meaning. The temJ. "business c1ays- as           will not permit any of 1hese uses by any sublessee or assignee of the
                          used in this lease shall exclude Saturdays, Sundays and all days desi!lllated      demised premises. This Article shall directly bind any successors in
                          as holidays by the ai>plicable boilding service union employees         semce      interest to the Tenant. Tenant agrees that if at any time Tenant violates any
                          conlract or by lhe applicable Operating Enginee,s contract with respect to         of the provisions of Ibis Article, such violation shall be deemed a breach
                          HVAC service. Wherever it is expressly provided in this lease that consent         of a substantial oblill31ion of the terms of this lease and objectionable
                          shall not be unreasonably withheld, such consent shall not be unreasonable         oooduct. Pornographic material is defmed for purposes of this Article as
                          delayed.                                                                           any written or pictorial matta wi1h prurient appeal, or any objects of
                                                                                                             instnanent -      are primarily ooncerned with lewd oc prurient sexual
                                                    Joi. If an excavation shall be made upon land            activity. Obscene material is defined here as it is in renal Law §235.00.
                                                   adjacent to lhe demised premises, or shall be
                                                   authorized to be made, Tenant shall alford to Ibo         Eotoppel                   311. Tenant, at any time, and from time to time,
                                                   person causing or authorized to cause such                Cerfflkate:                upon at least 10 days prior notice by Own<:r. shall
                          excavation, a license to enter upon the demised premises for lhe purpose                                      execute, acknowledge and deliver to Owner,
                          of doing such wodc, as said pm;on shall deem necessary, to preserve the            and/or to any other penon, furn or oorporation specified by Owner, a
                          wall or the boilding of which lhe demised premises funn a part from injury         -         certifying that this lease is 1D11nodified and in full force and effect
                          or damage and to support the same by proper f01D1dations, wilhout any              (or, ifth«e have been modifications, that the same is in full force and effect
                          claim for damages or indemnity against Owner, or diminution or                     as modified and stating 1he modifications), slating the dates which the rent
                          abatement of n:nt                                                                  and additional rent have been paid, slating whc1her or not lhere exists any
                                                                                                             defauhs by own« under this lease, and, if so, specifying each socb default
                                                  * 35.  Tenant and Tenant's servants, employees,            and such other information as shall be required of Tenant
                                                   agents. visitors, and licensees sball observe
                                                   failhfully, and comply strictly with lhe Rules and        Succeuon                  39. The cmrenants, conditions and agreements
                          Regulations and such olh« and further reasonable Rules and Regulations             and Amps:                 contained in this lesse shall bind and inure to the
                          as Owner or Owner's agents may from time to time adopt Notice of any                                         bencf,t of Owner and Tenant and their respective
                          additional rules or regulations shall be given in such manner as Ownec             heir.;, distributes, executors, adminis1Jators, successors, and except as
                          may elect. lo ease Tenant disputes the reasonableness of any additional            oth«wise provided in this lease, their assigns. Tenant shall look only to
                          Rule or Regulation hereafter made or adopte<I by 0.-ner or Owner's                 Owner's estate and int«est in the land and building forthe satisfaction of
                          agen~ the ~ies hereto agree to submii the question of the                          Tenant's remedies for the collection of a judgment (or other judicial
                          reasonableness of such Rule or Regulation for decision to lhe New YOik             process) against Owner in the event of any default by Owner hereunder,
                          office ofthe American Arbitration Association, whose determination shall           and no other property or assets of such Owner ( or any partner, member,
                          be final and conctusi,-. upon the parties ben:to. The right to dispute the         officer or director lhereo( disclosed or mdisclosed), shall be subject to
                          reasonableness of any additional Rule or Regulation upon Tenant's part             levy, execution or olher enfon:emeol procedure for lhe satisfaction of
                          shall be deemed waived unless Ibo same shall be asserted by service of a           Tenant's remedies mder, or with respe<t to, this lease, the relationship of
                          notice, in writing, upon Owner, wi1hin fifteen (IS) days after giving of           Owner and Tenant hereunder, or Tenant's use and occupancy of the
                          notice lhereof. Nothing in this lease cootained shall be construed to impose       demised premises.
                          upon Ownec any duly or obligation to enfoo:e the Rules and Regulations


                          ~n ;Dlitntlililili ;Dllfereof,                   Owner and Tenant have respectively signed and sealed this lease as of the day and year
                          first above written.

                                                                                                                 DINO & SONS REALTY CORP.
                           Witness for Owner:


                                                                                                                 By:
                                                                                                                  Name:                                                 Title:

                          Witness for Tenant:



                                                                                                                  N~:-~ rlD s-l#tMS - rtt1~;- - - - -
                                                                                                                                                                        I 1-&,         (),Pt/}   r
                          Witness for Tenant:                                                                   SCO                             VENTURESLLC
                                                                                                                                                                        f/((fll         ~
                                                                                                                                                                        Title:


                                                                                      ACKNOWLEDGEMENTofTENANT
                           STATE OF NEW YORK,
                                                                            SS.:
                          COUNTY OF
                               On the _ _ _ _ _ day of _ _ _ _ _ _ _ _ _ _ in the year                                 . before me. the undersigned. a Notary Public
                          in and for said State. personally appeared                   _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , personally
                          known to me or proved to me on the basis of satisfactory evidence to be the individual(s) whose name(s) is (are) sul:>scribed to the within
                          instrument and acknowledged to me that he,she they executed the same in his her'the,r capacity(ies), and that by his'her their signature(s)
                          on the instrument. the individual(s), or the person upon behalf of which the individual(s) acted. executed the instrument



                                                                                                                                                  NOTARY PUBLIC                              ~



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                                                                                                               GUARANTY
                         1bc undersigned GuaranlOr gua-antccs to <>wncr, Owner's successors and
                         auigns, tho full pcd'onnance and obsavance of all tho ag,=non1ll ID be
                         perfonned and observed by Tenant in tho . - c l lease, including the "Rules
                                                                                                                         B~~Acicin;.~ ............... -.... · · · · · · · · · · · · · · · ·
                         and R<:gulaliooo" as lhen:inpnmded, w i - '"'lllmllll any DOIH;c I D ~
                         o f - or ~ ..- proot; ..- notice of demand, to hold tho
                         undersigned n:spon,iblc undar Ibis a,,mnty, all of which the undenigncd
                         herdJy expn:ssly waives, and exp,,,asly -       that tho legali1y of lhia agreement
                         and the agn:c:meolB of tho Ouaran1Dr under lhil agrcemeot. ,ball not be ended,
                         or changed by n,a,on of tho claiml lo OWner against Tcuant of any of tho rigbla
                         or n:medies given ID Owner II agreed in tho -bed lease. The ~
                         -        agrees that lhil glllllllly lhaU remain and CODtinuc in full fun:e and                 STATE OF NEW YORK                                                             u.:
                         elli:ct as ID any n:ocwal, change 0< oxmmion of tho lease. As a further
                         inducement ID Owner ID make tho I..... 0Wner and Cluaranbx agree lbatin any
                         action..- poceeding brought by       _,OWner   or tho Guarantor against tho other              COUNTY OF
                         on any malta1I concemiog lhe lease or of du guar.,nly, lbat Owner and lhe
                         undeBigned ,hall and do waive 1rial by jtay.

                         Dalcd:. . . . . . . . . . . . . . . . . . . . . . . . . in 1he year . . . . . . . . . . . .    On tho                    day of                   in the year
                                                                                                                        before me, the undersigned, a Notary Public: in and for said State
                                                                                                                        pcnoaally appeared                                                              '
                                                                                                                        ponona1ly known lo me or proved ID me oo the basis of salisfactc,y evidence~
                                                                                                                        be tho inci>iclual(s) whose oamc(s) is(...,) subscribed ID tho within inalnlment
                                                                                                                        11111 aoknowlcdged lo me that helshoilhcy executed 1ho ,_. in hislbedlhoir
                         w.-·---------------------------                                                                ...,...ty(,es1 md that by hislhcr/lheir ,ignalun,(s) on lhc - ~ lhe
                                                                                                                        :;::.:,::,>;. or the penon upon bclla1f of which lhc individua1(1) aaed, executed
                         ~:s·~;.;~ ................................ .
                                                                                                                                                                            Notaay

                                SEE ADDfflONAL RULES AND REGULATIONS ATTACHED HERETO AS EXHIBIT "D"
                                                                               nu               IMPORTANT- PLEASE READ                                ~«;;-'"'.__
                                 RULES AND REGULATIONS ATTACHED TO AND                                                  be first affi,..J lo lho floor, by a paste or other mderial, solublo in W-, the
                                        MADE A PART OF TlllS LEASE                                                      use ofcen.- or o1her similar adtesive malerial being expn,ssly prohibited
                                     IN ACCORDANCE WITH ARTICLE 35.
                                                                                                                        7.     ~ fiunibn, business equipmen, men:haodise mtd bulky matter of
                          I.    The sidewalks, entrances, driveways, """'8g<s, courts, elevattn,                        any dosaiplion shall be delivaed lo and removed from the demised premises
                         vestibules, slairways, oonidon or halls shall not be obsltucl<d or enwmbon:d                   only on the fieiglt elevatml and 11mll!lh the servioe erma,oes mtd oorridors,
                         byanyTeoanlorusedforanypwpo,eotberdumforingi...lo aod~liom                                     ml only wring bOln mtd in a lllllllDOr approved by Owner. Owner reserves
                         the demised pn,mises and for ~livery of madundisc and equipmera in a                           the ri!!ht to inspffl all m:ii!J,t to be brought into the building and to e,o:lude
                         prompt and efficient mamerUSlql elevakn ml pa!lll8!!0Wllj,~ designated for
                                                                                                                        fiom ihe building alllieigbiwbich violaks any ofthese Rules andRqulatioos
                         such delivery by Owner, Then, shall not be used in any SJlllCO, or in the pmlic                or the lease ofwhidi these Rules and ~ o n s are a part
                         hall ofthe building, eitha- by any tenant or by jobbers, or othe,s in the delivery
                         or receipt of men:handise, any hand 111lcks e..ept those equipped with rmber                   8.
                         tires and safeguards.                                                                          of6 P.M. and 8 AM. aod a1 all hows on Sund,iys and                           w1u
                                                                                                                        do net pnsent a .,... lo lhc buildi   ·                 . Owner wiD filmish
                         2.    Jfthe demised pmnises are situated on the grotlldfloorofthe building,                    .,..... to        for               n,ques1s same in writing T<llld shall be
                         Tenm thaeof shall furthei; al Teoanl's expa,se, bop the sidewalks and cm,                                                  for whom it n:quesls sud, poss, ml shall be liable
                         m finnt of said premises elem a,d liee fiom ioe, onow, de.

                         3.   The -      ml wash closels and plumbing filmns shall not be used for                      ?-    Ownershall have the     nr  to prohibit any advertising by Tenn which,
                                                                                                                        at Owner'sopauoo, lends to ,mpairtben:pulalionofOwnererthe building's
                         any purposes otbertban thcoe forwbich they wen, desigped or cooslnJcted.
                                                                                                                        dalirabilily as a building for sla<s or offices, aod upon written notice fiom
                         4.    T - shall not use, Jo,ep or peunit lo be used or kq,1. any foul or                       Owner, Tuna,t shall refiain mm or discontime such. advertising.
                         noxious gas or substance in the demised pRlllises, or peunit or suffir the
                         demised pmnises lo be occupied or used in a mamer offi:osive or                                10. • Tenn '!"aJI not _bring er permit to be brougl,t or kept in or on the
                         objectionable lo Ownor or other occupom ofthe building by reason of noise.                     ~ ~ Bl!'f inllammable, combustible, ore,q,kloive, or hazardous
                         odoos ml/or vibr.dions. or mfere in any way with other -
                                                                                                                        tluid, murial, chemical or SIDllance, or cause or permit any odors ofcool<ing
                                                                                          or those
                         having business then:in.                                                                       :~:~tarusual...,;:...~objeclionableodors,lopenneatein
                         S.     No sip, advcrtisemen~ notice or other leUering shall be exhibited,
                         ~ paiorecl or fixed by'l...a on any pat ofthe wlside ofthe demised
                                                                                                                        11.   ,:enant shall not place a load oo any floor of the _demised pn,mises
                         ~orthebuilding,ocontheimideofthedemisedpn:misesuthesame                                        e.....iing the floor load per square r- ..,,. which was desigJ1ated to carry
                         IS visible fiom the wfside of the demised pranises, will,cu the prior written
                                                                                                                        ml which is allowed by law. Ownorn:saves the ris)1 to pn:ooribo tho weight
                         coosent ofOwna-, e..eptthat1he 111111e ofTmmt may_..- on the ermmce                            ml po,silion of all safes, business machines and mcdJanioal equipnBd. Sudi
                         door ofthe danised premises. In the evem ofthe violation ofthe foregoing by                    imlallalions sball be placed and maidainod by Teoatl al TelUlll's expeme in
                         Tenart, Owner may remove"""" wilmt any liability and may charge the                            ""':h sdting sufficient in Ownor's judiJnent lo absorb and prevlllll vibration,
                                                                                                                        IIOlle and amoyance.
                         ~ iocl.-n:d by sudi nmoval to Tenaol. Sip on irterior doors and
                         directc,y tablet shall be inM:ribed, painted or affixed for Tenant by Owner al
                         ~ of Tenant, and shall be of a me, oolor and style acceptable 1o
                                                                                                                        12. Refuse and ThlSb - Tenam coveodl and agm:s, al its solo C00l and
                                                                                                                        · -toccmplywilhall-aidfutm,laws,onlm, and,egulaliomof
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                         6.    T~shall_not mad<, pan,_ driD no, or in any way deface any part of                        and-.r. ieg,sding the collec1ioo, s<Jl1ing. sepintioa mlncycling ofw-
                         the demised praruses or the building of which they lhnn a pan. No lxxing,                      protb.1s, pn,oge, iefuse ml 1l3sh. Tenm sball pay all cco1B, e,q,enses, fines,
                         Cdliog or slringiug of win:s shall be pennilled, e..ept with the prior written                 penalties or...,,_ that may be imposed on Owner er Tenant by reason of
                         cons,ntofOwner, and as Owner may direct. Tenant shall oot lay lioolwm. or                      Tnut's faihn to oomply with the provisioos oflhis Building Rule 12, and,
                                                                                                                        al Tenant's sole C00l aid expense, shall indemnify, defend and hold Owner
                         other similar tloorcoverin& so that 1he same shall come in dirl:<;t <Xlltacl with
                         the floor of the danised pRlllises, and, u linoleum or other similar floor                     lurmleoa (including reasonable legal fees and expenses) lh,m and against any
                         covcrmg is desired lo be used, an intm-lining ofbuilder"s deadening fett shall                 8"lions, claims and suits arising fiom such non-compliance, utilizing counsel
                                                                                                                        reasonably salis&mxyto Owner.

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                                                                           Article 40.
                                                                    ELECTRICITY RIDER
         SECTION I • GENERAL                                                        its Equipment. If Landlord and Tenant do not agree in writing
                                                                                    on the amount of such increase, but Landlord consents to such
                    Supplementing Article 12, electric current will be supplied     changes in electrical facilities or to the use of other or addi-
          to the demised premises at the commencement of the term of this           tional Equipment nevertheless, the amount of the increase
         lease in accordance with the provisions of this Section and the            shall be determined by the "Consultant" performing a survey
          Section of this Article (Section II, "rent inclusion"; Section III,       as provided in the next paragraph.
         "submetering"; or Section IV, "direct electric") which has been
         identified as the "Electrical Section" in Article 41. As used herein       2. Landlord may, at any time, retain a reputable independent
          "Laws" shall mean and include all laws, rules, regulations,               electrical engineer or consultant, selected by Landlord and paid
         ordinances, codes and orders of all governmental and quasi-                equally by both parties (the "Consultant"), to make a survey of
         governmental authorities, agencies and departments, and the                the electrical wiring and power load of Tenant and determining
         directions, provisions and requirements thereof and of utility             the value of the electric service provided to Tenant (the
         companies, labor agreements and insurance boards, policies,                "Survey"). The Electric Rate shall be applied to Tenant's usage
         carriers, underwriters and rating bureaus. All notices, requests,          of electricity (load and demand) to determine what the cost
         demands and consents permitted or required hereunder shall be              (i.e., value to Tenant) would be if Tenant had purchased its
         in writing. All amounts due to Landlord from Tenant hereunder              electricity from the Utility Company and any other distributor
         shall be due and payable as additional rent, including, but not            having distribution charges at the Electric Rate of Landlord for
         limited to, amounts Tenant is required to pay to others if the same        the Building. If the Base Electricity Charge then in effect
         are paid for by Landlord or become a hen or claim against the              hereunder is below such value as determined by such Consul-
         demised premises, the Building or Landlord. Tenant shall use the           tant, the Base Electricity Charge (and the Annual Base Rent)
         electric current supplied to the demised premises for lighting, air        shall be increased to fufly reflect such value. The findings of
         conditioning and the operation of other machinery, equipment and           such Consultant, in all such instances, shall be final, binding
         appliances in the demised premises at term commencement that               and conclusive upon the parties. Any increase in the amount of
         utilize electric current of the type, and to the extent normally used      the Base Electricity Charge from such a survey shall be
         in connection with the operation of Tenant's business ("Equip-             effective as of (A) the date the Survey was performed, or (B)
         ment") insofar as Landlord's facilities are not burdened thereby           if the survey is conducted during the first six (6) months of the
         and applicable Laws permit. Tenant's use of electric current shall         term, the commencement of the term of this lease.              The
         never exceed the capacity of electrical conductors and equipment           retroactive increase in the Base Electric Charge shall be due
         in, or otherwise serving the demised premises or existing Building         within ten (10) days after it is first billed. However, if and to
         feeders, risers or wires. Tenant's use of electric current in the          the extent that an increase in the Base Electricity Charge
         demised premises shall comply with all applicable Laws. Tenant             determined by the Consultant is due to changes in Equipment,
         shall not use any Equipment which, in Landlord's sole judgment,            electrical facilities or the Electric Rate as of a particular date,
         will interfere with the business operations of Landlord or other           the Consultant shall specify the effective date for the increase
         tenants of the Building. Tenant shall not make any additions or            in the Base Electricity Charge. Tenant shall cooperate with the
         other alterations to electrical facilities or add Equipment without        Consultant and shall promptly provide copies of records,
         the prior written consent of Landlord in each instance. If, in             purchase orders and the like as the Consultant, in his or her
         Landlord's sole judgment, Tenant's electrical requirements necessi-        sole and absolute discretion shall request to aid in such
         tate additions or other alterations to electrical facilities, the items    determination.
         will be provided, maintained, repaired, and replaced as necessary
         by Landlord (or, at Landlord's o~tion, by Tenant) at the sole              3. If, after the Base Electric Date, the Electric Rate is in-
         expense of Tenant if, in Landlords sole judgment, the same are             creased (due to changes inh or replacement of the Utility
         necessary and will not cause damage or injury to the Building or           Company s rate schedule fort e Building or any increase in, or
         the demised premises, cause or create a dangerous or hazarcfous            additions to any of the charges, surcharges or taxes for
         condition, entail excessive or unreasonable arterations, repairs or        supplying electric current to the Building), the Base Electricity
         expenses or interfere with, or disturb Landlord, other tenants or          Charge shall be increased by the percentage of any increase in
         occupants of the Building. Anything contained in this lease to the         Landlord's cost for purchasing electricity for the Building. If
         contrary notwithstanding, with respect to any portion or all of any        Tenant disputes the amount of the increase in writing sent to
         electrical services and installations permittecf or required to be         Landlord within twenty (20) days after Landlord bills Tenant in
         furnished or maintained by Tenant at Tenant's own expense,                 writing for the increased amount1 the amount of such percent-
         Landlord, at its option, may elect to furnish or maintain the same         age increase shall be determinea by the Consultant chosen by
         at Tenant's expense. Tenant shall use only rigid conduit within the        Landlord and paid equally by Landlord and Tenant. The
         demised premises. Landlord shall not be liable in any way to               Consultant shall take Landlord's average demand and con-
         Tenant for any failure or defect in the supply or character of             sumption (as reflected in Landlord's electric bills from the
         electric current furnished to the demised premises, for any                Utility Company) for the twelve ( 12) month period that
         requirement, act or omission of the Utility Company, or for any            immediately precedes the date the Electric Rate changed; that
         loss, damage or expense which Tenant may sustain or incur if               average demand and consumption shall be applied to the
         either the quantity or character of electric service is changed or is      Electric Rate in effect during such twelve (12) month period to
         no longer available_ or suitable for Tenant's requirements. """""'-"       derive an agreed cost before the change in the Electric Rate;
                                                                                    the same average demand and consumption shall be applied
                                                  a~~
                 1                3                                                 to the new Electric Rate to derive an agreed cost after the
         Tenant shal/ purcha~e from L~ndlorb            ~nd/or~ shall install, at   change in the Electric Rate; the percentage of the increase to
         Tenant's expense, all lighting tubes, lamps, bulbs and ballasts            the annual Base Electricity Charge then in effect shall be
         used in the demised premises. At any time, and from time to                determined by using a fraction whose numerator is the
         time, Landlord mar, elect, on at least thirty (30) days prior notice       difference between the aforesaid agreed costs after and before
         ("Electricity Notice'), to change the method by which Tenant will          the change and whose denominator is the agreed cost before
         receive its electricity service in the demised ;:,remises. Landlord's      the change. The Consultant's determination shall be final,
         Electricity Notice will specify the alternative form of service (i.e.,     binding and conclusive. Nothing contained herein shall be
         "rent inclusion" under Section II, "submetering" under Section III         deemed to provide for a reduction in the Base Electricity
         or "direct electric" under Section IV) and the date on which the           Charge unless Landlord gives its Electricity Notice to cease
         then current form of service will end and the alternative form of          providing electric service on a rent inclusion basis, in which
         service will begin, subject only to delays beyond the reasonable           case paragraphs (4) and (5) of this Section will apply.
         control of the parties and the requirements of any Laws. This
         Section I ("General") will continue to apply along with whatever           4. If Landlord exercises its right to cease furnishing electric
         other Section of this Article is in effect. If Landlord elects to cease    service on a "rent inclusion" basis, this lease shall continue in
         furnishinl) electricity to Tenant (requiring Tenant to obtain electric     full force and effect and shall not be affected thereby, except
         service directly from the Utility Company) or changes the manner           that, from and after the effective date of such discontinuation,
         in which electric service is furnished by Landlord (requiring              Landlord shall not be obligated to furnish electric current to
         submetering instead of rent inclusion or vice versa) neither such          Tenant (except as provided in the next Section relating to
         discontinuance, nor such change shall be deemed a lessening or             submetering, if Landlord elects to furnish submetering service)
         diminution of service within the meaning of any Laws and this              and the Annual Base Rent payable hereunder from and after
         lease shall otherwise remain in full force and effect in accordance        the date on which rent inclusion ends, shall be reduced to an
         with its terms. If any tax is imposed in connection with the               applicable Net Annual Base Rent per year. Anything contained
         Landlord's sale or distribution of electric current to Tenant by any       in this lease to the contrary notwithstanding, if this lease (or
         federal, state or local government subdivision or authority, Tenant        any subsequent written agreement between the parties
         shall pay Landlord the Tenant's Proportionate Share of such tax,           amending this lease) provides for any increase in the Annual
         to the extent permitted by Laws.                                           Base Rent other than due to an increase in the Base Electricity
                                                                                    Charge, the Net Annual Base Rent shall be increased by the
         SECTION II • RENT INCLUSION                                                amount of each and every such increase so that any reduction
                                                                                    in the Annual Base Rent due to the termination of electric
         1. As an incident to this Lease and as part of the Annual Base Rent        service on a rent inclusion basis as described herein shall not
         payable hereunder, Landlord shall furnish to Tenant electric               exceed the annual Base Electricity Charge immediately prior to
         current on a so-called "rent inclusion" basis. The portion of the          the date on which such termination becomes effective.
         Annual Base Rent attributable to electric current so furnished to
         Tenant constituting the Annual Base Rent applicable during the             5.      If the Electrical Section identified in Article 41 is this
         term of this lease less the "Net Annual Base Rent" (referred to in         Section II: rent inclusion was the initial form of electric service
         paragraphs (4) and (5) of this Section) is hereinafter referred to         provided for in this lease; the Net Annual Base Rent was
         as the "Base Efectricity Charge". "Electric Rate" means the service        specified in Article 41; and the initia I Base Electricity Charge
         classification pursuant to which Landlord purchases electricity from       was included in the Annual Base Rent at the inception of the
         the Utility Company for the Building, taking into consideration all        term. If Article 41 does not specify the Net Annua Base Rent,
         surcharges and charges for demand, energy, fuel adjustments,               the Landlord's Electricity Notice containing its election to
         and "time of day", and taxes and other sums payable in connec-             provide electricity on a rent inclusion basis shall specify the
         tion therewith. "Base Electric Date" means January 1, 2011. If             initial Base Electricity Charge; and the Net Annual Base Rent
         Landlord grants its consent to additions, or other alterations to          shall be the Annual Base Rent as previously set forth in this
         existing electrical facilities, and/or Tenant's use of other, or           lease. If Tenant disP.utes the initial Base Electricity Charge
         additional Equipment at Tenant's expense as provided above,                specified in Landlord s Electricity Notice, Landlord shall have
         Landlord may require an increase in the Base Electricity Charge            such initial Base Electricity Charge determined by the Consul-
         (and the Annual Base Rent) payable hereunder to reflect the value          tant under paragraph (2) of this Section.                  ~
         of the additional electric current to be made available to Tenant for

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          SECTION III - SUBMETERING
           1.       "Electrical Consultant" means an independent electrical        engage an electrical engineer or electrical consulting firm
         engineer or electrical consulting firm selected by Landlord.             ("Tenant's Consultant") to promptly survey Tenant's electrical
         "Usage" means actual usage of electricity in the demised premises,       usage in the demised premises (the "Disputing Survey"). If
          inclusive of electricity for the HVAC Systems serving the demised       Landlord and Tenant are unable to agree on the amount of
          premises, as measured by the Submeter to be installed by                Usage and Basic Cost within thirty (30) days after the date
         Landlord for each calendar month or such other period as Landlord        Landlord receives a copy of the Disputing Survey, then the
         shall determine and shall include the quantity usage and peak            Electrical Consultant and Tenant's Consultant shall select a
         demand (kilowatt hours and kilowatts). "Landlord's Rate" means           mutually acceptable electrical engineer or electrical consulting
         the average cost per kw/kwh for supply and delivery (including all       firm (the "Third Consultant") within ten (10) days after the
         applicable taxes, surcharges, demand charges and rates, energy           expiration of such thirty (30) day period. ihe dispute shall be
         charges and rates, fuel adjustment charges, time of day charges          submitted to the Third Consultant and the Third Consultant's
         and other charges, adjustments and sums payable in respect               determination shall be final. During the pendency of any such
         thereof) pursuant to which Landlord presently or hereafter               dispute, Tenant shall pay to Landlord the amount set forth in
         purchases electric current for the Building from the utility company     the Electrical Consultant's notice until the dispute is finally
         supplying electric current to the Building, or the equivalent rate in    determined in accordance with the provisions of this Section
         effect from time to time during the Term, which shall be utilized as     1.07. If such final determination is less than the amount set
         the rate structure for the determination of Basic Cost, as if (i) the    forth in the Electrical Consultant's notice, Landlord shall, at
         only electric current being purchased directly from the supplier of      Tenant's election, refund to Tenant the amount of such excess
         electricity to the Building were the Usage and (ii) no other             payment or credit any such excess against any amounts then
         electricity were being purchased for the entire Building. "Basic         due or becoming due to Landlord under this Lease. The cost
         Cost"means the ,erocfuct of (a) Usage and peak demand multiplied         of the Third Consultant shall be borne equally by Landlord and
         by (b) Landlord s Rate, for the period that corresponds to the           Tenant.
         period during which Usage was measured. "Electricity Cost" means
         an amount equal to one hundred seven percent (107%) of the                1.08.     If it is physically possible for Tenant to receive the
         Basic Cost.       "Electrical Consultant" means an independent            electric service described in Section 1.01 without material
         electrical engineer or electrical consulting firm selected by             additional cost to Tenant, directly from one or more of the
         Landlord.                                                                 utility companies then serving the area where the Buildin9 is
                                                                                   located, Landlord may discontinue electrical service upon thirty
         1.01.     Subject to Section 1.08, Landlord shall furnish electrical      (30) days' notice to Tenant without being liable to Tenant
         service to the demised premises through existing feeders, risers          therefor and without in any way affecting this Lease or the
         and wiring installations. Landlord shall, at its sole expense, install    liability of Tenant hereunder, and the same shall not be
         one (1) submeter and other necessary equipment to measure the             deemed to be a diminution of services within the meaning of
         amount of Usage (the "Submeter") and shall maintain, repair and           any Law. If Landlord gives such notice of discontinuance,
         replace the Submeter.                                                    Landlord shall permit Tenant to receive such service directly
                                                                                  from one (1) utility company and shall permit Landlord's wires
         1.02.     Not more frequently than once a month, Landlord shall          and conduits, to the extent safely capable, to be used for such
         deliver to Tenant an invoice for the period during which the Usage       purpose. Any additional wires, conduits, or other equipment
         was measured and the amount of Electricity Cost payable by                necessary in connection therewith shall be installed by Landlord
         Tenant for such period. Within ten (10) Business Days after               in accordance with the terms of, and subject to the conditions
         receipt of each such invoice, Tenant shall pay the invoiced              contained in this Article 1. If Landlord exercises its rights
         Electricity Cost. If any tax is imposed upon Landlord for the             under this Section 1.08, then: (a) Tenant shall contract for
         purchase, sale or resale of electrical energy, then, to the extent       electrical service directly with the utility company for Tenant's
         permitted by Law, such taxes shall be passed on to and paid by           electric current requirements and (b) Landlord shall have no
         Tenant.                                                                  obligation to supply or furnish electric current. If Tenant is
                                                                                  diligently and in good faith arranging to obtain electricity
         1.03.     Landlord does not represent or warrant that the electrical     directly from said utility company, Landlord may not discon-
         service to the demised premises is or will be sufficient for Tenant's    tinue the electric service to the demised premises until Tenant
         electrical needs. Unless caused by Landlord's willful acts, Landlord     is able to contract directly for, and actually receive, such
         shall not liable or responsible for any Loss that Tenant may suffer      electric service. All equipment which may be required to
         if the quantity or character of electrical service is changed, is no     obtain electricity of substantially the same quantity, quality and
         longer available, or is unsuitable for Tenant's needs.                   character as Landlord is obligated to furnish under Section
                                                                                  1.01, shall be installed by Landlord: (1) at Landlord's expense,
         1.04.   Tenant shall not use or install anything that could result       if Landlord voluntarily discontinued furnishing electricity to the
         in an overload of the electrical circuits servicing the demised          demised premises, or (2) at Tenant's expense, if Landlord was
         premises.                                                                compelled to discontinue furnishing electricity to the demised
                                                                                  premises due to any improper act or omission of Tenant, or (3)
         1.05.      (a)     . Tenant's use of electric current shall never        at the equal expense of Landlord and Tenant, if such discon-
         exceed tne capacity of the feeders to or the risers or wiring            tinuance was required by Law and not by any act or omission
         installation of the Building. All installations, alterations and         of Tenant.
         additions of and to the electrical distribution system in the
         Premises shall be subject to Landlord's prior written approval in        SECTION IV - DIRECT ELECTRIC
         each instance (which approval shall not be unreasonably withheld
         or delayed); but, Landlord's prior written approval shall not be         Tenant shall arrange to obtain all electric current for the
         required for the installation, alteration· or addition of and to the     demised premises directly from the Utility Company. Tenant
         electrical distribution system for normal office equipment used in       shall pay all bills rendered by the Utility Company for such
         executive administrative and general office use. If, in connection       electric current. Such electric current may be provided to
         with any request for such approval, Landlord shall, in its reason-       Tenant by means of the then existing Building feeders, risers
         able judgment, determine that additional risers reeders, wiring          and other installations, to the extent that the same are
         installation or other equipment are needed, Landlord shall, at the       available, suitable and safe for such purposes. All meters and
         cost and expense ofTenant, install such additional equipment that        additional panel boards,switches, feeders, risers, wiring and
         Landlord shall deem necessary; but, if Landlord shall determine,         other conductors and equipment which are necessary to obtain
                     1judgment, that the same will cause permanent damage         electric current directly from the Utility Company shall be
         to the Building or to the demised premises, create a dangerous or        furnished, installed, maintained and repaired by Tenant, at its
         hazardous condition, entail excessive or unreasonable alterations,       expense subject to Landlord's prior written consent. If more
         repairs, or expense, interfere with, or disturbl other occupants of      than ninety percent (90%) of the occupied space in the
         the Building, or adversely affect Landlord s ability to supply           Building receives electric service directly from the Utility
         electricity to other portions of the Building, then Landlord shall not   Company, Tenant shall pay Landlord the Tenant's Proportionate
         be obligated to make such installation, Landlord's approval shall        Share of all costs incurred by Landlord to provide electricity for
         be deemed denied and Tenant may not make such installation. All          the Building within ten (10) days after being billed. A copy of
         of the aforesaid costs and expenses shall be payable within ten          Landlord's electricity bills for the Building from the Utility
         (10) Business Days after delivery of any bill or statement to            Company shall be sufficient evide nee of Landlord's costs
         tenant therefor.                                                         therefor. Tenant shall pay Landlord the Tenant's Proportionate
                                                                                  Share of Landlord's costs to increase the electrical capacity of
                  (bl      Tenant shall furnish, install and replace, as          the Building, or, if Tenant will have access to a percentage of
         required, all Bulbs in the demised premises at its sole cost and         such additional capacity greater than the Tenant's Percentage
         expense; but, Landlord shall install all Bulbs initially required in     set forth in Article 41, Tenant shall pay Landlord the percent-
         the demised premises as part of Landlord's Work. All Bulbs shall         age that reflects Tenant's proportionate share. Such payments
         become Landlord's property. All fluorescent fixtures shall be            shall be made within ten (10) days after being billed.
         lamped with Building standard bulbs and lenses.
                                                                                  Landlord may elect to utilize the services of an alternative
         1.06.    If the Submeter or any submetering system installed at          electricity service provider ("ASP") rather than the Utility
         a later date becomes prohibited from use, then Landlord, at its          Company in which event, Tenant shall pay for Its use of
         expense, may cause its Electrical Consultant to survey and               electricity as billed by the ASP or Landlord. Landlord shall
         determine Usage in, and Basic Cost for, the demised premises, at         incur no expenses whatsoever with respect to any aspect of
         least once per twelve (12) month period, and the Electrical              ASP's provision of its services. Any and all expenses incurred
         Consultant shall determine Usage using criteria generally accepted       by Landlord in connection with the supervision of the ASP shall
         in the metropolitan New York City area and Landlord's Rate in            be at the expense of Tenant and/or ASP. Landlord's and
         effect at the time, and shall include the quantity and peak              Tenant's use of the ASP shall not be deemed to be any kind of
         demand, for all electricity consumed by Tenant. The Electrical           warranty or representation by Landlord, including, without
         t~~~nt
         Consultant's determination shall be binding on Landlord and
                 and such amount shall be deemed to be the Electricity
                                                                                  limitation, any representation as to the suitability or compe-
                                                                                  tence of the ASP. Tenant agrees that all electricity services
                                                                                  obtained by Tenant from the ASP shall be at the sole expense
                                                                                  of Tenant. Landlord shall have the right at any time and from
         1.07.    Tenant shall have the right to contest any amount               time to time during the Term to contract with, or to require
         determined by the Electrical Consultant pursuant to Section 1.06.        Tenant to contract for electricity service with, a new or
         If Tenant fails to deliver a Notice (an "Objection Notice") to           different ASP and/or with the Utility Company
         Landlord within sixty (60) days after the date of the Electrical
         Consultant's notice of determination, the notice of determination        'P        provided that the charrs of any new ASP are
         shall be binding upon Tenant. If the Objection Notice is properly                  commerc1allv reasona le com et1t1ve nces.
         given, Tenant shall, at its sole cost and expense, have the right to

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           RIDER TO LEASE DATED December 19, 2014 BETWEEN Dino & Sons Realty Inc., AS
           LANDLORD, AND Scorpion Fitness Inc. and Scorpion Club Ventures LLC, AS TENANT FOR
           part of the ground floor, mezzanine and lower level (the "demised premises") AT 220 Fifth
           Avenue, NEW YORK, NY 10022 (the "Building")

                  If and to the extent that any of the provisions of this rider conflict or are otherwise
           inconsistent with any of the printed provisions of this lease, whether or not such inconsistency is
           expressly noted in this rider, the,provisions of this rider shall prevail.

           41.    Miscellaneous Definitions
                  A.      The Electrical Section in Article 40 is Section III ("Submetering").
                   B.      The term of this Lease (the ·'Term") shall commence on the date (the
           "Commencement Date") that is the earlier to occur of (i) the date that Landlord gives notice to
           Tenant (in the form attached hereto as Exhibit #l) which correctly states that "Landlord's Work"
           (defined in Exhibit "B", attached hereto and made a part hereof) is substantially complete and (ii)
           the date that Tenant takes possession of the demised premises, whichever of those dates shall
           occur first. The Term shall expire, unless sooner terminated as in this lease provided, on the last
           day of the month in which the fifteenth (15 th ) anniversary of the "Rent Date" (defined below)
           shall occur. Once the Commencement Date, the Rent Date and the Expiration Date are known,
           the parties shall sign and deliver a memorandum to confirm those date but their failure or refusal
           to do so shall not affect the dates determined in accordance with the provisions of this lease.
                    C.      The "Rent Date" shall mean the date that is two hundred ten (210) days after the
           Commencement Date. Tenant's obligations to pay Base Rent shall abate in the interval from the
           Commencement Date to the day before the Rent Date. All of Tenant's monetary obligations
           (including, but not limited to, Tenant's obligation to pay for electricity) other than the obligation
           to pay Base Rent shall start as of the Commencement Date. The first advance installment of
           monthly Base Rent being paid to Landlord by Tenant upon execution shall be applied as the
           monthly installment of Base Rent for the month in which the Rent Date occurs. If the Rent Date
           is not the first day of the month, on the first day of the month which follows the Rent Date, the
           first installment of monthly Base Rent shall be prorated, and an appropriate credit shall be issued
           to Tenant to reflect the portion of the month in which the Rent Date occurred that elapsed prior
           to the Rent Date.
                  D.      If Tenant is not in default under this lease and it remains .in full force and effect,
           the monthly Base Rent in and for the month in which the first (1 st ) anniversary of the Rent Date
           occurs shall abate.
                     E.      "Lease Year" shall mean successive periods of twelve (12) calendar months with
           the first (l't) Lease Year to start on the first day of the month in which the Commencement Date
           occurs, except if the Commencement Date is the first (1 st ) day of the month, in which case the
           first (1 st) Lease Year would start on the Commencement Date.
                  F.      The Fixed Escalation Percentage in Article 68 is three percent (3%).
                    G.     If this lease shall be terminated for a default of Tenant prior to the second
           anniversary of the Rent Date, the eight (8) months of Base Rent abatements described in the
           foregoing provisions of this Article shall be due and payable by Tenant to Landlord as additional
           rent if previously issued and waived by Tenant if and to the extent not previously issued.
                   H.     "Laws", "compliance with law" and words of similar import shall mean and
           include all laws, rules, regulations, ordinances and requirements of governmental and quasi-
           governmental authorities, agencies and departments having jurisdiction and the directions,
           orders, provisions, recommendations and requirements thereof and of utility companies, labor
           agreements and insurance boards, companies, policies, carriers, underwriters and rating bureaus.


           42.    Rental Payments

                   A.      All payments other than Base Rent to be made by Tenant pursuant to this lease
           shall be deemed additional rent and, in the event of any non-payment thereof, Landlord shall
           have all rights and remedies provided for herein or by law for non-payment of rent.




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                           B.      All payments of Base Rent and additional rent to be made by Tenant
                    pursuant to this lease shall be made by checks drawn upon a New York City bank which
                    is a member of the New York Clearing House Association or any successor thereto.

                            C.      If Landlord receives from Tenant any payment less than the sum of the
                    Base Rent and additional rent then due and owing pursuant to this lease, Tenant hereby
                    waives its right, if any, to designate the items to which such payment shall be applied and
                    agrees that Landlord in its sole discretion may apply such payment in whole or in part to
                    any Base Rent, any additional rent or to any combination thereof then due and payable
                    hereunder.

                           D.       Unless Landlord shall otherwise expressly agree in writing, acceptance of
                    Base Rent or additional rent from anyone other than Tenant shall not relieve Tenant of
                    any of its obligations under this lease, including the obligation to pay Base Rent and
                    additional rent, and Landlord shall have the right at any time, upon notice to Tenant, to
                    require Tenant to pay the Base Rent and additional rent payable hereunder directly to
                    Landlord. Furthermore, such acceptance of Base Rent or additional rent shall not be
                    deemed to constitute Landlord's consent to an assignment of this lease or a subletting or
                    other occupancy of the demised premises by anyone other than Tenant, nor a waiver of
                    any of Landlord's rights or Tenant's obligations under this lease.

                    43.     Tax Escalation

                            A.     For purposes hereof:

                                    (I)     "Real Estate Taxes" shall mean all real estate taxes, assessments,
                    sewer and water rents, governmental levies, municipal taxes, or any other governmental
                    charge (including, without limitation, a business improvement district charge ["BID
                    Charge"]), general or special, ordinary or extraordinary, unforeseen as well as foreseen,
                    of any kind or nature whatsoever, which are or may be assessed, levied or imposed upon
                    all or any part of the Building and/or the land upon which it is erected ("Land") under the
                    laws of the United States, the State of New York, or any political subdivision thereof, or
                    by the City ofNew York, or any political subdivision thereof, and any tax or assessment
                    hereafter imposed in whole or in part in substitution for any such taxes, assessments,
                    sewer and water rents, levies or other charges. In the event that the Base Year Taxes
                    shall include any BID Charge and any such BID Charge is subsequently discontinued or
                    eliminated, then, as of the date of such discontinuance or elimination, the Base Year
                    Taxes shall be recalculated as if the BID Charge had not originally been included therein.

                                    (2)     "Base Year Taxes" shall mean the Real Estate Taxes as finally
                    determined for calendar year 2014, i.e., the last half(l/2) of the fiscal tax year that ends
                    on June 30, 2014 and the first half(l/2) of the fiscal tax year that begins on July 1, 2014,
                    hereinafter called the Base Tax Period.

                                     (3)   "Subsequent Year" shall mean any tax fiscal year commencing on
                    or after July 1, 2014.

                                  (4)    "Tenant's Proportionate Share" shall mean four and nine tenths
                    percent percent (4.9%).

                           B.      If the Real Estate Taxes for any Subsequent Year during the Term exceed
                    the Base Year Taxes (as initially imposed, if not finally determined when a payment is
                    due pursuant to subdivision (C) of this Article), Tenant shall pay Landlord Tenant's
                    Proportionate Share of such excess.

                            C.     Such payment shall be due within fifteen (15) days after the Real Estate
                    Taxes for any Subsequent Year become due, or, if Real Estate Taxes are payable in
                    installments, the appropriate portion of such payment (based on the number of such
                    installments) shall be due within fifteen (15) days after the date each such installment is
                    due. If the Base Year Taxes ultimately are less than the Real Estate Taxes initially



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                             imposed upon the Land and Building for the Base Tax Period, Tenant shall pay Landlord,
                             promptly upon demand, any additional amount thereby payable pursuant to subdivision
                             (B) for all applicable Subsequent Years.

                                     D.      If Landlord receives any refund of Real Estate Taxes for any Subsequent
                             Year for which Tenant has made a payment pursuant hereto, Landlord shall (after
                             deducting from such refund all expenses incurred in connection therewith) pay Tenant, if
                             not in default hereunder, Tenant's Proportionate Share of the net refund. If Landlord
                             succeeds in reducing any assessed valuation for the Land and Building prior to the initial
                             billing of Real Estate Taxes, Tenant also shall pay Landlord Tenant's Proportionate Share
                             of the expenses so incurred by Landlord.

                                     E.     If any Subsequent Year is only partially within the Term, all payments
                             pursuant hereto shall be appropriately prorated, based on the portion of the Subsequent
                             Year which is within the Term. Except as limited by Articles 9 and 10: 0) Tenant's
                             obligation to make the payments required by subdivisions (B), (C) and (D) of this Article
                             shall survive the Expiration Date or any sooner termination of this lease; and (2)
                             Landlord's obligation to make the payments required by subdivision (D) shall survive the
                             Expiration Date or any sooner termination of this lease pursuant to Articles 9 and 10.

                                     F. Tenant's right to a refund for overpayment of tax escalation charges shall
                             survive expiration of the term. A reduction in Real Estate Taxes for the Base Tax Period
                             shall not result in retroactive additional rental payments under this Article for payments
                             paid by Tenant under this Article prior to such reduction.

                             44.     Restrictions on Use

                                      A.     Anything in Article 2 to the contrary notwithstanding, Tenant shall not use
                             or permit all or any part of the demised premises to be used for the: ( 1) storage for
                             purpose of sale of any alcoholic beverage in the demised premises; (2) storage for retail
                             sale of any food or beverage in the demised premises other than packaged prepared foods
                             and beverages or the operation of a healthy snack bar or counter without cooking for
                             limited on premises consumption; (3) conduct of a manufacturing, printing or electronic
                             data processing business, except that Tenant may operate business office reproducing
                             equipment, electronic data processing equipment and other business machines for
                             Tenant's own requirements (but shall not permit the use of any such equipment by or for
                             the benefit of any party other than Tenant); (4) cooking; (5) conduct of the business of an
                             employment agency or executive search firm; (6) conduct of any public auction,
                             gathering, meeting or exhibition; (7) conduct of a stock brokerage office or business; (8)
                             occupancy of a foreign, United States, state, municipal or other governmental or quasi-
                             governmental body, agency or department or any authority or other entity which is
                             affiliated therewith or controlled thereby and which has diplomatic or sovereign
                             immunity or the like with respect to a commercial lease; (9) any residential use
                             whatsoever.

                                    B.      Tenant shall not use or permit all or any part of the demised premises to be
                             used so as to impair the Building's character or dignity or impose any additional burden
                             upon Landlord in its operation.

                                    C.      Tenant shall not obtain or accept for use in the demised premises ice,
                             drinking water, food. beverage, towel, barbering, boot blacking, floor polishing, lighting
                             maintenance. cleaning or other similar services from any party not theretofore approved
                             by the Landlord, such approval not to be unreasonably withheld. conditioned or delayed .
                             Such services shall be furnished only at such hours, in such places within the demised
                             premises and pursuant to such regulations as Landlord prescribes.

                                    D.      Except for Landlord·s Work. Tenant acknowledges that it has inspected
                             and is fully familiar with the Building and the demised premises, and agrees that
                             Landlord shall not be obligated to make any improvements or alterations to the demised
                             premises to prepare it for Tenant's occupancy or otherwise. and that Tenant covenants

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          and agrees to accept the demised premises on the Commencement Date in "as is"
          condition subject only to the performance of Landlord's Work. Tenant acknowledges
          that nothing contained herein, and no consent or approval which may be issued by
          Landlord in connection with Tenant's alterations or otherwise shall constitute an express
          or implied representation of Landlord that the demised premises or the Building (with or
          without any alteration) will be suitable, feasible or lawful for any general or specific use,
          purpose or requirement of Tenant. All work required to enable Tenant to use the demised
          premises for the use permitted under this lease shall be provided by Tenant at its sole cost
          and expense pursuant to plans, drawings and specifications therefor prepared by Tenant
          and submitted to, and approved by Landlord (such approval not to be unreasonably
          withheld, conditioned or delayed), subject to the provisions of this lease and the
          requirements of Laws.

                  E.      The demised premises is to be delivered and accepted subject to all Laws,
          including, but not limited to, zoning laws and the Certificate of Occupancy for the
          Building or the demised premises, if any, as the case may be, and any required
          application for any variance, special permit or Certificate of Occupancy (or amendments
          thereto) or otherwise shall be obtained by Tenant at its sole expense if and as required by
          Laws in order for Tenant to engage in the use permitted under this lease. However,
          Tenant shall make no application for any variance, special permit or any new or amended
          certificate of occupancy without Landlord's prior written consent, which consent shall
          not be unreasonably withheld or delayed. Landlord shall reasonably cooperate in any
          such application made by Tenant with Landlord's approval, and sign Tenant's
          applications as reasonably necessary to evidence such approval, but without liability of
          Landlord under the application.

                  F.     Nothing contained herein shall relieve Tenant of its obligation at its sole
          cost and expense to apply for, obtain, comply with, and keep in effect all necessary
          licenses, permits and approvals from the applicable governmental and quasi-
          governmental agencies, departments and authorities which is now and/or hereafter
          required by Laws for Tenant to engage in the use permitted under this lease from time to
          time at Tenant's own expense, including, but not limited to, any required license from the
          The Department of Consumer Affairs of the City of New York. Tenant shall not open for
          business to the public in the demised premises without first having complied with this
          paragraph. Nothing contained herein shall constitute Landlord's representation that
          Tenant can obtain any such license, permit or approval.

          45.     Assignment, Etc.

                  Supplementing Article 11:
                  A. "Disposition" means an assignment, release or reassignment (in whole or in
          part) of this lease, a sublease of all or part of the demised premises, or a license,
          concession or other agreement to permit any or all of the demised premises to be used or
          occupied by any other party. A sub-sublease, sub-assignment or the cancellation,
          renewal or other material modification of any Disposition shall be deemed to be a new
          Disposition. A change of ownership or control of Tenant (or of the entity that owns or
          controls Tenant), shall be deemed to be an assignment of this lease without regard to
          whether or not the change is effected in one or a series of related transactions. No
          Disposition shall be made without Landlord's prior written consent, except if and as
          expressly provided otherwise in this lease. The "Effective Date" of a sublease,
          assignment or other Disposition means the date on which the sublease term will begin, or
          the assignment or other Disposition will become effective.
                  B. Every assignment of this lease must provide that the assignee assumes the
          payment and performance of Tenant's obligations under this lease as if it had executed it
          as the original Tenant; and that Landlord and the assignee may modify this lease in any
          manner, without notice to the assignor or the assignor's prior consent, without thereby
          terminating any assignor's joint and several liability under this lease, except that any such
          modification that, in any way, increases an assignor's liability shall not, to the extent of
          such increase only, be binding upon the assignor.

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                       C. Every sublease of the demised premises, in whole or in part, shall be subject
                and subordinate to this lease in all respects and must include the following:
                                "In the event of a termination of any underlying lease, the subtenant
                hereunder shall, at the option of the lessor under any such lease ('Underlying Lessor'),
                attorn to and recognize the Underlying Lessor as sublandlord hereunder and shall,
                promptly upon the Underlying Lessor's request, execute and deliver all instruments
                necessary or appropriate to confirm such attornment and recognition. Notwithstanding
                such attomment and recognition, the Underlying Lessor shall not (i) be liable for any
                previous act or omission of the sublandlord under this sublease, (ii) be subject to any
                offset, not expressly provided for in this sublease, which shall have accrued to the
                subtenant hereunder against said sublandlord, (iii) be bound by any modification of this
                sublease or by any prepayment of more than one month's rent, unless such modification
                or prepayment shall have been previously approved in writing by the Underlying Lessor,
                or (iv) be obligated to afford rights or provide services in excess of or different than those
                required to be furnished to the sublandlord as the tenant under the Underlying Lease for
                the space to which this sublease relates. The subtenant hereunder hereby waives all
                rights under any present or future law to elect, by reason of the termination of such
                Underlying Lease, to terminate this sublease or surrender possession of the premises
                demised hereby. This sublease may not be assigned or the premises demised hereunder
                further sublet, in whole or in part, without _the prior written consent of the Underlying
                Lessor."
                         D. Subject to the provisions of Article 11 and the other applicable provisions of
                this lease, if Tenant is not in default, Landlord shall not unreasonably withhold its prior
                written consent to a Disposition in the form of an assignment of this lease or a sublease of
                all of the demised premises by Tenant provided that: Tenant gives written notice to
                Landlord at least thirty (30) days, but not more than one hundred twenty (120) days prior
                to the Effective Date requesting Landlord's prior written consent, and such notice is
                delivered to Landlord together with executed duplicate originals of the assignment or
                sublease and any and all other agreements that will have been made in connection with
                the Disposition, and the agreements have been signed and delivered subject to receipt of
                Landlord's prior written consent; and, at least ten (10) days prior to the Effective Date,
                Tenant furnishes Landlord with such other such other documents and information as
                Landlord may reasonably require to substantiate compliance with the provisions of this
                lease, to evaluate the financial strength and suitability of the other party to the
                Disposition, and be fully informed of all relevant facts when it decides whether or not to
                issue its consent to the Disposition.
                       E. The foregoing notwithstanding, no Disposition shall be made with any of the
                following: a prospective tenant (or its designee) who is discussing with Landlord (or
                Landlord's agent) its need for space in the Building, or who has so negotiated within the
                previous six (6) months; a current tenant, subtenant or occupant of space in the Building
                or the subsidiary, affiliate, parent, or successor thereof, or of any such successor or
                related entity. Tenant shall list the demised premises for any sublease of all or
                substantially all of the demised premises or any assignment of this lease with Landlord's
                leasing agent pursuant to the Landlord's leasing agent's standard listing agreement and
                Tenant shall pay the commission of the Landlord's leasing agent as provided therein
                when the Disposition is effected by Tenant and approved by Landlord hereunder.
                         F. If a Disposition requires performing work for the purpose of subdividing the
                demised premises (e.g., construction of new demising walls to create a separate
                independently serviceable unit of space) or other alterations, such Disposition and the
                alterations described therein shall require Landlord's prior written consent and approval.
                Landlord may refuse to consent to any subdivision of the demised premises into more
                than one independent unit of space. No sublease of any kind (including, but not limited
                to, any sublease effected under paragraph J of this Article) shall provide for subdivision
                of the demised premises through creation of separate entrances, construction of demising
                walls or otherwise.
                       G. Neither Landlord's consent to any Disposition, nor any Disposition made at
                any time shall release Tenant from its liability for the performance of Tenant's obligations


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                             hereunder before, during or after any such Disposition, or constitute Landlord's consent
                             required for any other, or further Disposition, or Landlord's approval of any alterations
                             described therein, or in any other or further Disposition. Landlord may collect payments
                             from an assignee, subtenant or occupant and apply the net rent received to Tenant's
                             obligations without accepting the payor as a direct tenant of Landlord, and without
                             having such acts constitute Landlord's consent to an assignment, subletting or other
                             Disposition, or a release of Tenant.
                                     H. Anything contained in this lease to the contrary notwithstanding, except for
                             Dispositions described in paragraph J of this Article, within twenty (20) days after
                             Landlord's receipt of Tenant's notice requesting Landlord's consent to an assignment of
                             this lease or the subletting of the demised premises, in whole or in part, Landlord
                             maygive notice electing to cancel this lease effective as of either (i) the Effective Date of
                             the proposed Disposition, or (ii) as of the last day of the month occurring sixty (60) days
                             after such notice of cancellation is given, at Landlord's option. If Landlord shall give its
                             cancellation notice as provided in this paragraph, the Term shall end on the effective date
                             of cancellation specified therein as if such date had always been the original Expiration
                             Date of this lease. If Landlord does not elect to cancel under the foregoing provisions of
                             this paragraph and Landlord consents to the sublease or assignment, then if the monthly
                             rental which Tenant receives from a sublease for all or any portion of the demised
                             premises permitted hereunder is greater than a sum equal to the percentage of the total
                             area of the demised premises which is sublet multiplied by Tenant's rent (i.e., Base Rent
                             and additional rent) per month, one-half ( 1/2) of the difference between said sums (less
                             Tenant's reasonable legal fees, brokerage commissions and any alteration expenses paid
                             and incurred in connection with the sublease) shall be paid to Landlord each month as
                             additional rent. One-half ( 1/2) of any and all consideration required to be paid to Tenant
                             by an assignee in connection with an assignment permitted hereunder (less Tenant's
                             reasonable legal fees, brokerage commissions and any alterations expenses paid and
                             incurred in connection with the assignment) shall be paid to Landlord by Tenant as
                             additional rent.
                                     I. Tenant shall pay to Landlord, promptly upon demand therefor, all reasonable
                             costs and expenses (including, but not limited to, reasonable attorneys' fees and
                             disbursements), if any, incurred by Landlord in connection with any Disposition whether
                             or not Landlord consents thereto.
                                     J. The foregoing notwithstanding, if Tenant is not bankrupt or in default (after
                            notice and grace period to cure) under this lease, the Tenant named herein may, on thirty
                            (30) days prior written notice to Landlord, without Landlord's prior written consent, (A)
                            assign this lease to a ''Successor", or (B) sublet a portion of the demised premises
                            (without subdividing the demised premises into more than one independently serviceable
                            unit of space through construction of demising walls, separate entrances and the like) to a
                            "Subsidiary" or "Affiliate". A "Successor" of Tenant shall mean: (i) a corporation,
                            partnership, association or limited liability company in which or with which Tenant is
                            merged or consolidated, in accordance with applicable statutory provisions for merger or
                            consolidation of corporations, associations, partnerships or limited liability companies
                            provided that by operation of law or by effective provisions contained in the instruments
                            of merger or consolidation, the liabilities of the entities participating in such merger or
                            consolidation are assumed by the entity surviving such merger or created by such
                            consolidation, or (ii) a corporation or other entity acquiring this lease and the other
                            property and assets of Tenant. Acquisition by Tenant, of a substantial portion of the
                            assets, together with the assumption of all or substantially all of the obligations and
                            liabilities of any corporation or other entity, shall be deemed a merger of such
                            corporation or other entity into Tenant for the purposes hereof However, upon the
                            completion of any merger, consolidation, sale, acquisition or assumption described above
                            in this Article, the Successor must have a net worth (exclusive of "goodwill") no less than
                            the greater of: (i) Tenant's net worth immediately prior to such merger, consolidation,
                            sale, acquisition or assumption; and (ii) Tenant's net worth immediately prior to
                            execution and delivery of this lease. A "Subsidiary" shall mean any corporation,
                            partnership or limited liability company more than fifty percent (50%) of whose
                            outstanding stock, membership, ownership and voting interests shall, at all times, be


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                       owned by Tenant. An "Affiliate" shall mean any corporation or other entity having as the
                       owner of more than fifty percent (50%) of its outstanding stock, ownership, membership
                       and voting interests, the same person or entity that owns more than fifty percent (50%) of
                       the outstanding stock, voting and ownership interests of Tenant at all times. Any other or
                       further assignment or subleasing of all or part of the demised premises shall be subject to
                       all applicable provisions of this lease including, without limitation, the requirement that
                       Tenant obtain Landlord's prior written consent in each instance as provided in this lease.
                       If any Subsidiary or Atliliate shall cease to be a Subsidiary or Affiliate of Tenant, any
                       sublease or assignment to it must end, and Tenant shall cause the subtenant or assignee to
                       vacate the demised premises forthwith. A Subsidiary or Affiliate that enters into
                       possession of any portion of the demised premises shall be and remain jointly and
                       severally liable for the obligations of Tenant for the balance of the Term of this lease.
                       Tenant must furnish Landlord with such documents and information as Landlord may
                       reasonably require to substantiate relationships, conditions and transactions described
                       herein prior to the commencement of the sublease term or the effective date of the
                       assignment, and the executed assignment of Tenant and assumption of the assignee or the
                       fully executed sublease, as the case may be. The aforesaid assignment and assumption
                       must provide that the assignee agrees to pay, keep, perform and observe all terms,
                       provisions, covenants and conditions contained in this lease on the Tenant's part to be
                       paid, kept, performed and observed as if it had executed this lease as the initial Tenant
                       without relieving the assignor of joint and several liability to Landlord. The aforesaid
                       sublease must provide that it is subject and subordinate to this lease in all respects.

                       46.     Air Conditioning

                               A.     Notwithstanding anything contained in this Lease to the contrary, except if
                       and as expressly provided otherwise in Exhibit "B", Tenant hereby agrees that Landlord
                       shall not be required to supply, maintain, repair or service any air conditioning system in
                       or servicing the demised premises, and the air conditioning system and related ductwork
                       and equipment to be located in and/or servicing the demised premises shall be furnished.
                       installed, operated, repaired replaced and maintained as necessary to keep the same in
                       good working order and condition and in compliance with laws by Tenant at Tenant's
                       sole expense. Tenant shall enter into a service contract for the air conditioning system
                       serving the demised premises with a reputable company approved by Landlord and
                       provide Landlord with a copy thereof and shall maintain such service contract in effect
                       for the Term at Tenant's expense.

                               B.     Tenant shall operate, repair. replace and maintain the air conditioning
                       system serving the demised premsies at Tenant's sole expense as necessary to keep the
                       same in good working order and condition and in compliance with laws throughout the
                       Term and return the air conditioning system in place when the Term ends in good
                       condition and in compliance with laws. Any inspection, permit or license required for the
                       operation of the air conditioning system shall be obtained by Tenant and kept in effect at
                       Tenant's expense. Landlord shall cooperate reasonably with Tenant's application for any
                       such required inspection, permit or license, without Landlord having any liabilty for such
                       application.

                               C.     If. despite Tenant having properly operated and maintained the air
                       conditioning system, a major repair or replacement (i.e., compressor or fan motor failure)
                       of the air conditioning unit not covered by Tenant's Landlord approved service contract
                       and not caused by Tenant's negligence, willful misconduct or alterations of Tenant shall
                       become necessary, Landlord shall perform such repair with Tenant to pay the "Adjusted
                       Cost" thereof. As used herein, "Adjusted Cost" means the total reasonable cost of
                       Landlord for the repair or replacement multiplied by a fraction whose numerator is the
                       nearest whole number of years then remaining in the unexpired balance of the term of
                       this lease and whose denominator is fifteen ( 15).

                       47.     Brokerage



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                       Tenant represents that it dealt only with Signature Partners LLC ("Broker") in
               connection with this lease and Landlord shall pay the Broker's commission therefor
               pursuant to separate written agreements with the Brokers. Tenant shall indemnify
               Landlord against any liability and expense (including, with limitation, reasonable
               attorney's fees) for any brokerage commission or finder's fee in connection with this lease
               asserted by any broker, agent or finder other than the Broker based on the alleged actions
               of Tenant or its agents or representatives with the claimant. Tenant's liability hereunder
               shall survive any expiration or termination of this lease. Landlord represents that it dealt
               only with the Broker.

               47A.    Tenant's Alterations

                       Supplementing the provisions of Article 3 hereof:

                      A.       All alterations of Tenant shall be subject to Landlord's prior written
               consent, which consent shall not be unreasonably withheld, conditioned or delayed.
               However, Tenant may, on prior notice to Landlord, without Landlord's prior written
               consent, perform interior non-structural alterations, installations or improvements which
               have no material adverse effect on the Building, its systems or facilities to renovate the
               demised premises for Tenant's occupancy ("Tenant's Work"), provided that Tenant's
               Work shall be performed in compliance with all of the other applicable provisions of this
               lease and in compliance with laws in a good and workmanlike manner using new first
               class materials.

                       B.      Tenant shall indemnify, defend and hold Landlord harmless on demand
               from and against any and all claims, damages, costs, fees and expenses arising from or
               relating to any Tenant's Work and any and all other alterations of Tenant. Tenant shall
               repair, replace and maintain as necessary to keep in good working order and condition
               and in compliance with law anything altered or installed in connection with Tenant's
               Work and any and all other alterations of Tenant.

                       C.      Supplementing Article 3, Landlord's consent shall not be required for
               minor changes to the demised premises such as the installation of superficial decorations,
               furniture, furnishings, cabinets and shelves which are not affixed to the realty. All other
               renovations, signs, additions, installations, improvements and alterations of any kind or
               nature in or to the demised premises whether performed by Tenant or by Landlord
               (collectively, "Tenant Changes") shall require the prior written consent of Landlord
               which, in the case of a non-structural interior Tenant Changes, Landlord agrees not to
               unreasonably withhold, condition or delay. In granting its consent to any Tenant
               Changes, Landlord may impose such reasonable conditions as Landlord may reasonably
               require. In no event shall Landlord be required to consent to any Tenant Changes that
               would adversely affect the structure of the Building, the exterior thereof, any part of the
               Building outside of the demised premises or the mechanical, electrical, heating,
               ventilation, air conditioning, sanitary, plumbing or other service systems and facilities
               (including elevators) of the Building. Tenant Changes shall be performed only by
               contractors designated or approved by Landlord (which approval shall not be
               unreasonably withheld or delayed) in accordance with plans, drawings and specifications
               prepared by Tenant at its own expense and submitted to, and approved in writing by
               Landlord. In connection with Landlord's review, modification, approval, supervision
               and/or coordination of Tenant Changes, Tenant shall, promptly upon demand, reimburse
               Landlord for any reasonable out-of-pocket fees, expenses and other charges incurred by
               Landlord or its agent in connection with the review, modification and/or approval of such
               plans and specifications by Landlord and its agents and consultants. Tenant shall
               promptly provide such evidence as Landlord may request to substantiate any such costs
               incurred by Tenant. Tenant shall, at its sole cost and expense, in making any Tenant
               Change, comply with all requirements of Local Law 5 of 1973 of The City of New York
               and the Americans With Disabilities Act, as heretofore and hereafter amended, as well as
               all other applicable Laws.



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                         D. Nothing in this lease is intended to constitute a consent by Landlord to the
                 subjection of Landlord's or Tenant's interest in the Building to any lien or claim by any
                 person that performs and/or supplies any work, labor, material, service or equipment to
                 Tenant for any Tenant Change. Landlord hereby notifies all such persons of such intent
                 and each such person agrees that by performing any Tenant Changes for Tenant it accepts
                 that Landlord has not granted such consent and that such person shall not have a right to
                 file any lien or claim against such interest of Landlord or Tenant in the Building or land
                 upon which it is located. All materials and equipment to be incorporated in the demised
                 premises as a result of all Tenant Changes shall be new and first quality; no such
                 materials or equipment shall be subject to any lien, encumbrance, chattel mortgage, title
                 retention or security agreement. Tenant shall not, at any time prior to or during the term
                 of this lease, directly or indirectly employ, or permit the employment of, any contractor,
                 mechanic or laborer in the demised premises, whether in connection with any Tenant
                 Changes or otherwise, if, in Landlord's sole discretion, such employment will interfere or
                 cause any conflict with other contractors, mechanics, or laborers engaged in the
                 construction, maintenance or operation of the Building by Landlord, Tenant or others. In
                 the event of any such interference or conflict, Tenant, upon demand of Landlord, shall
                 cause all contractors, mechanics or laborers causing such interference or conflict to leave
                 the Building immediately.

                         E. Nothing contained in this lease, and no consent or approval which may be
                 issued by Landlord at any time with respect to Tenant Changes or otherwise, shall
                 constitute any express or implied representation by Landlord that the demised premises or
                 the Building (with or without any Tenant Change) will be suitable, feasible or lawful for
                 any general or specific use, purpose or requirement of Tenant. Nothing contained herein
                 shall relieve Tenant of its obligations to repair, replace and maintain as necessary
                 anything altered or installed by or for Tenant as necessary to keep the same in good
                 working order and condition and in compliance with laws at Tenant's expense.

                        F. Tenant shall have all of its contractors furnish evidence of insurance in forms,
                 amounts, carriers and coverages reasonably satisfactory to Landlord; and naming
                 Landlord and its agent and mortgagees as additional insureds in all liability policies, and
                 containing waiver of subrogation and release in favor of Landlord, its agents and
                 mortgagees in all property policies.

                        G. Tenant's alterations shall be subject to Tenant's compliance with Exhibit "C",
                 attached hereto and made a part hereof.

           49.      Building Directory/Sig.nage

                   A.      Tenant shall not require use of the ground floor lobby building directory.

                    B.     All exterior signage, displays and the like or interior signage, displays and the
           like, visible from the outside of the demised premises shall be of first-class quality and
           appearance. The parties acknowledge that the storefront and the exterior of the demised
           premises and the Building may now be or may hereafter become subject to local laws or
           requirements of the Landmarks Preservation Commission, historic preservation district status
           and the like that may regulate items visible from the street in addition to signs and exterior
           alterations and Tenant will comply at its own expense with any and all of those regulations and
           requirements for the demised premises, including, but not limited, those relating to the storefront,
           signs and exterior thereof Landlord has the right to use, repair, maintain and replace the facade
           and exterior elements of the Building and its appurtenances to comply with laws, to upgrade the
           exterior of the Building and properly operate the Building and Landlord's exercise of such right
           shall not be a breach of the lease, a constructive, partial or actual eviction of Tenant or cause any
           rent abatement or release of Tenant. Landlord shall use commercially reasonable efforts to
           minimize the extent and duration of any scaffolding of other interference (without an obligation
           to incur overtime or premium pay) and shall allow Tenant to install reasonable temporary
           signage at Tenant's expense on the exterior of any scaffold in front of the demised premises.
           Tenant, at its own expense, shall provide, clean, maintain, repair and replace its storefront and


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               signage as necessary to comply with laws and to keep the same in attractive and first class
               condition and free of graffiti.

                        C.     Tenant covenants and agrees to apply for, secure, maintain and comply with all
               licenses or permits which may be required by laws for the conduct by Tenant of the business
               herein permitted to be conducted in the demised premises and to pay, if, as and when due all
               license and permit fees and charges of any nature in connection therewith, including, but not
               limited to, sign permits and approvals for its signage. Landlord shall cooperate reasonably with
               Tenant's application for any such permit, approval or license, without Landlord having any
               liabilty for such application.

               50.    Limitation of Liability

                      A.      Anything herein to the contrary notwithstanding, Landlord's liability for its
               negligence or failure to perform its obligations hereunder shall be limited to its interest in the
               Land and Building. Tenant shall neither seek to enforce nor enforce any judgment or other
               remedy against any other asset of Landlord or any party who holds any interest in Landlord.
               Tenant will not have any right to satisfy any judgment that it may have against Landlord, or any
               successor, from any other assets of Landlord, or any successor. "Landlord" and "successor"
               include the shareholders, beneficial owners, members, venturers, and/or partners of "Landlord"
               and/or "successor" and the officers, directors, trustees and employees of "Landlord" and/or
               "successor." Anything contained in this lease to the contrary notwithstanding, in no event shall
               Landlord be liable to Tenant for any consequential, indirect, special, exemplary or punitive
               damages ..

                       B.      Landlord and Landlord's agents, officers, directors, and employees shall not be
               liable for any of the following, however caused, other than by gross negligence or wilful acts: (a)
               failure of any utility service, telephone, wireless or wired voice/data, internet or other
               telecommunications services, (b) damage to Tenant's property on the demised premises caused
               by or resulting from any cause whatsoever, including explosion, falling plaster, vermin, smoke,
               gasoline, oil, Hazardous Materials, steam, gas, electricity, earthquake, subsidence of land,
               hurricane, tornado, flood, wind or similar storms or disturbances or water, rain, ice or snow
               which may be upon, or leak or flow from, any street, road, parking lot, sewer, gas main or
               subsurface area, or from any part of the Building, or leakage of gasoline, oil or other substances
               from pipes, pipelines, appliances, storage tanks, sewers or plumbing works in or at the Building,
               or from any other place, or from the breaking of any electrical wire or the breaking, bursting or
               leaking of water or Hazardous Materials from any plumbing or sprinkler system, or any other
               pipe or storage tanks in, on, under or about the Building, (c) interference with light or other
               incorporeal hereditaments, and (d) loss by theft or otherwise of Tenant's property or the property
               of any person claiming through or under Tenant. Any employees of Landlord to whom any
               property shall be entrusted by or on behalf of Tenant shall be deemed to be acting as Tenant's
               agents with respect to such property and neither Landlord nor Landlord's agents shall be liable
               for any loss or for damage to any such property by theft or otherwise. This paragraph shall not
               be construed as a provision for indemnification.

               51.    Submission !Q. Jurisdiction, Etc.

                       A.      This lease shall be deemed to have been made in New York County, New York,
               and shall be construed in accordance with the laws of the State of New York. All actions or
               proceedings relating, directly or indirectly, to this lease shall be litigated only in courts located
               within the County of New York. Tenant, any guarantor of the performance of its obligations
               hereunder ("Guarantor") and their successors and assigns hereby subject themselves to the
               jurisdiction of any state or federal court located within such county, waive the personal service of
               any process upon them in any action or proceeding therein and consent that such process be
               served by certified or registered mail, return receipt requested, directed to the Tenant and any
               successor at Tenant's address hereinabove set forth, to Guarantor and any successor at the
               address set forth in the instrument of guaranty and to any assignee at the address set forth in the
               instrument of assignment. Such service shall be deemed made two days after such process is so
               mailed.




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                    B.     Whenever any default, request, action or inaction by Tenant causes Landlord to
            incur attorneys' fees and/or any other costs or expenses, Tenant agrees that it shall pay and/or
            reimburse Landlord for such fees, costs or expenses within fifteen (15) days after being billed
            therefor.

                    C.      If any monies owing by Tenant under this lease are paid more than ten ( 10) days
            after the date such monies are payable pursuant to the provisions of this lease, Tenant shall pay
            Landlord interest thereon, at the then maximum lawful rate, for the period from the date such
            monies were payable to the date such monies are paid. In addition, any Base Rent or additional
            rent not paid within ten ( I 0) days after it becomes due shall be subject to an administrative fee of
            two percent (2%) of the late payment or $200.00, whichever is greater.

                   D.     The submission of this lease to Tenant shall not constitute an offer by Landlord to
            execute and exchange a lease with Tenant and is made subject to Landlord's acceptance,
            execution and delivery thereof.

                  E.       If any provision of this lease shall be held to be invalid or unenforceable, the
            remainder of this lease shall be valid and enforceable to the fullest extent permitted by law.

                   F.      This agreement shall be a binding and enforceable contract from and after the date
            on which it has been signed and delivered by both parties without regard to whether or not the
            term of this lease and Tenant's rights to occupy the demised premises have commenced as of
            such date of full execution and delivery of this instrument under the other provisions of this
            lease.

                    G.      The meaning and effect of this lease shall not be determined subject to any
            presumption against Landlord as drafter. The doctrine of eiusdem generis shall not be applied to
            limit a general description to the same class or category of things or matters contained in the list
            (or specific description) which the general description follows or otherwise relates to.

            52.    Modifications Requested ID'. Mortgagee

                    If any prospective mortgagee of the Land, Building or any leasehold interest therein
            requires, as a condition precedent to issuing its loan, the modification of this lease in such
            manner as does not materially lessen Tenant's rights or increase its obligations hereunder, Tenant
            shall not delay or withhold its consent to such modification and shall execute and deliver such
            confirming documents therefor as such mortgagee requires.

            53.    Cleaning; Sorting and Separation of Refuse and Trash

                   A.      Landlord shall not be providing any cleaning services to the demised premises.
                           The cleaning contractor employed by Tenant to clean the demised premises shall
                           not cause any labor disharmony or otherwise adversely affect the Building.
                           Landlor reserves the right to approve Tenant's cleaning service contractor, such
                           approval not to be unreasonably withheld, conditioned or delayed.

                   B.       Tenant covenants and agrees, at its sole cost and expense, to comply with all
                            present and future laws, orders and regulations of all state, federal, and municipal
                            governments, departments, commissions, and boards regarding the collection,
                            sorting, separation, and recycling of waste products, garbage, refuse, and trash.
                           Tenant shall sort and separate such waste products, garbage, refuse, and trash into
                            such categories as provided by law. Each separately sorted category of waste
                            products, garbage, refuse, and trash shall be placed by Tenant in separate
                            receptacles reasonably approved or provided by Landlord. Landlord reserves the
                            right to refuse to collect or accept from Tenant any waste products, garbage,
                            refuse, or trash that is not separated and sorted as required by law. Tenant shall
                           have Tenant's trash removed atTenant's expense. Tenant shall obtain and pay for
                           trash collection and removal services relating to any of Tenant's alterations or any
                           other unusual or excessive trash of Tenant subject to such rules and procedures as
                           .Landlord may reasonably prescribe.



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                       C.      Tenant use of any dumpsters or trash receptacles in the basement for storage,
                               collection and removal of its trash and garbage shall be subject to such rules and
                               regulations as Landlord may reasonably prescribe, including, but not limited to
                               the areas of the basement that may be used for such purposes and the times and
                               manner of storage and collection of Tenant's trash and garbage.

                       D.      Tenant shall pay all costs, expenses, fines, penalties or damages that may be
                               imposed on Landlord or Tenant by reason of Tenant's failure to comply with the
                               provisions of this Article, and, at Tenant's sole cost and expense, shall indemnify,
                               defend and hold Landlord harmless (including reasonable legal fees and expenses)
                               from and against any actions, claims, and suits arising from such noncompliance
                               by Tenant and its agents, employees and contractors, utilizing counsel reasonably
                               satisfactory to Landlord.

                54.    Private Elevator Service. Fire Staircase and Display Window

                       A.       Tenant shall have exclusive use of the existing private elevator servicing the
                demised premises. The private elevator shall be operated, maintained, repaired and replaced by
                Tenant as necessary to keep the same in good working order and condition and in compliance
                with law at Tenant's sole expense. Tenant shall enter into a service contract for the private
                elevator with a reputable company reasonably approved by Landlord and provide Landlord with
                a copy thereof and shall maintain such service contract in effect at Tenant's expense starting
                promptly after Landlord has done the elevator work described in item #12 of Exhibit "B" for the
                balance of the Term. Landlord makes no warranty or representation concerning the private
                elevator other than as described in Exhibit "B". Tenant's property and liability insurance shall
                cover damage to, and the use and operation of the private elevator and Tenant shall indemnify,
                defend and hold Landlord harmless on demand from and against any and all claims, demands,
                damages, costs, fees and expenses arising from or relating to the private elevator except if and to
                the extent due to the negligence or willful misconduct of Landlord or its agents, employees or
                contractors.

                        B.     Tenant shall have non-exclusive use of the existing staircase adjacent to, and
                servicing the demised premises. Tenant shall keep such staircase free of Tenant's trash, litter
                and obstructions and clean the staircase as necessary.

                       C.     Tenant shall have exclusive use of one (I) display window accessible to the
                demised premises and shall keep it in a clean and attractive condition subject to Landlord's
                approval of any signage and decoration contained therein.

                55.    Attornment

                        A.      In the event of the enforcement by the mortgagee under any mortgage to which
                this lease is subordinate of the remedies provided in such mortgage or by law, Tenant will, upon
                request of any person succeeding to the interest of Landlord as a result of such enforcement,
                automatically become the lessee of said successor of interest, without change in the terms or
                other provisions of this lease. provided ·however, that such successor in interest shall not be
                bound by (A) any payment of Base Rent or additional rent for more than one month in advance,
                except prepayments in the nature of security for the performance by Tenant of its obligations
                under this lease, or (B) any amendment or modification of this lease made without the consent of
                such mortgagee or such successor in interest. In addition, upon the request of said successor in
                interest, Tenant shall execute and deliver an instrument or instruments confirming such
                attornment.

                       B.     Landlord shall use good faith best efforts to obtain a subordination,
                nondisturbance and attornment agreement in favor of Tenant from the holder of any existing
                mortgage and any future leases or mortgages that this lease is subordinate to.

                56.    Insurance

                        A.     During the Term Tenant shall pay for and keep in force general liability policies




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                in standard form (.i& containing no non-standard, special and/or unusual exclusions or restrictive

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           endorsements) protecting against any and all liability occasioned by accident or occurrence, such
           policies to be written by recognized and well-rated insurance companies authorized to transact
           business in the State of New York, in the amount of$5,000,000 per occurrence (combined single
           limit) for property damage, personal injury or death (which may be provided in the form of a
           $1,000,000 underlying policy plus a $4,000,000 umbrella). If at any time during the Term it
           appears that public liability or property damage limits in the City of New York for premises
           similarly situated, due regard being given to the use and occupancy thereof, are higher than the
           foregoing limits, then Tenant shall increase the foregoing limits accordingly. Landlord shall be
           named as an additional insured on a primary basis in the aforesaid insurance policies and the
           policies shall provide that Landlord shall be afforded thirty (30) days prior notice of cancellation
           or material modification of said insurance. Not less than ten (10) days prior to the
           Commencement Date and, upon the renewal of such policies, not less than thirty (30) days prior
           to the expiration of any such policies, Tenant shall deliver certificates of insurance satisfactory to
           Landlord evidencing such policies. All premiums and charges for the aforesaid insurance shall
           be paid by Tenant and if Tenant shall fail to make such payment when due, Landlord may make
           such payment and the amount thereof shall be repaid to Landlord by Tenant on demand and the
           amount thereof may, at the option of Landlord, be added to and become a part of the additional
           rent payable hereunder. Tenant shall not violate or permit to be violated any condition of any of
           said policies and Tenant shall perform and satisfy the requirements of the companies writing
           such policies.

                   B.      Landlord and Tenant shall each endeavor to secure an appropriate clause in, or an
           endorsement upon, each fire or extended coverage policy obtained by it and covering the
           building, the demised premises, or the personal property, fixtures and equipment located therein
           or thereon, pursuant to which the respective insurance companies waive subrogation or permit
           the insured, prior to any loss. to agree with a third party to waive any claim it might have against
           said third party. The waiver of subrogation or permission for waiver of any claim hereinbefore
           referred to shall extend to the agents of each party and its employees and, in the case of
           Tenant,shall also extend to all other persons and entities occupying or using the demised
           premises in accordance with the terms of this Lease. If, and to the extent that, such waiver or
           permission can be obtained only upon payment of an additional third party charge, then, except
           as provided in the previous paragraph, the party benefiting from the waiver or permission shall
           pay such charge upon demand, or shall be deemed to have agreed that the party obtaining the
           insurance coverage in question shall be free of any further obligations under the provisions
           hereof relating to such waiver or permission.

                   C.      In the event that Landlord's insurance company shall set the amount of any
           additional charge payable by Landlord as set forth in Paragraph B of this Article on either a
           tenant-by-tenant or premises-by-premises basis, then the amount that shall be payable by Tenant
           thereunder shall be the amount so levied by the insurance company with respect to Tenant or the
           demised premises. If, however, the amount of such additional charge or additional premium, as
           the case may be, shall not be levied on a tenant-by-tenant basis or a premises-by-premises basis,
           but, instead, shall be levied as a blanket additional charge or additional premium with respect to
           Tenant and other tenants of the Building or with respect to the demised premises and other
           portions of the Building demised to other tenants, then the amount payable by Tenant shall be an
           amount equal to five percent (5%) of the additional charge so levied.

                   D.     Subject to the foregoing provisions of this Article, and insofar as may be
           permitted by the terms of the insurance policies carried by it, each party hereby releases the other
           with respect to any claim (including a claim for negligence) that it might otherwise have against
           the other party for loss, damage, or destruction with respect to its property by fire or other
           casualty (including rental value or business interruption, as the case may be) occurring during the
           term of this Lease that is covered by such insurance policies.

           57.    Bankruptcy

           Without limiting any of the prov1s10ns of Articles 16, 17 or 18 hereot: if pursuant to the
           Bankruptcy Code of 1978, as the same may be amended, Tenant is permitted to assign this lease
           in disregard of the restrictions contained in Articles 11 and 44 hereof, Tenant agrees that
           adequate assurance of future performance by the assignee permitted under such Code shall mean
           the deposit of cash security with Landlord in an amount equal to the sum of one year's Base Rent

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                    then reserved hereunder plus an amount equal to all additional rent payable under this lease for
                    the calendar year preceding the year in which such assignment is intended to become effective,
                    which deposit shall be held by Landlord, without interest, for the balance of the Term as security
                    for the full and faithful performance of all of the obligations under this lease on the part of
                    Tenant yet to be performed. If Tenant receives or is to receive any valuable consideration for
                    such an assignment of this lease, such consideration, after deducting therefrom (A) the brokerage
                    commissions, if any, and other expenses reasonably incurred by Tenant for such assignment and
                    (B) any portion of such consideration reasonably designated by the assignee as paid for the pur-
                    chase of Tenant's property in the demised premises, shall be and become the sole and exclusive
                    property of Landlord and shall be paid over to Landlord directly by such assignee. In addition,
                    adequate assurance shall mean that any such assignee of this lease shall have a net worth,
                    exclusive of good will, equal to at least fifteen (15) times the aggregate of the Base Rent reserved
                    hereunder plus all additional rent for the preceding calendar year as aforesaid.



                           Supplementing Article 6 hereof,

                            A.      All work performed or installations made by Tenant (or by Landlord at Tenant's
                    request and expense) in and to the demised premises shall be done in a fashion such that the
                    demised premises and the Building shall be in compliance with the requirements of Local Law 5
                    of 1973 of The City of New York, as heretofore and hereafter amended ("Local Law 5"). The
                    foregoing shall include, without limitation, (i) compliance with the compartmentalization
                    requirements of Local Law 5, (ii) relocation of existing fire detection devices, alarm signals
                    and/or communication devices necessitated by the alteration of the demised premises, and (iii)
                    installation of such additional fire control or detection devices as may be required by applicable
                    governmental or quasi-governmental rules, regulations or requirements (including, without limit-
                    ation, any requirements of the New York Board of Fire Underwriters) as a result of Tenant's
                    manner of use of the demised premises.

                            B.      Unless due to Landlord's negligence or willful misconduct, Landlord shall not be
                    responsible for any damage to Tenant's fire control or detection devices nor shall Landlord have
                    any responsibility for the maintenance or replacement thereof. Tenant shall indemnify Landlord
                    from and against all loss, damage, cost, liability or expense (including, without limitation,
                    reasonable attorneys' fees and disbursements) suffered or incurred by Landlord by reason of the
                    installation and/or operation of any such devices.

                            C.      All work and installations required to be undertaken by Tenant pursuant to this
                    Article shall be performed at Tenant's sole cost and expense and in accordance with plans and
                    specifications and by contractors previously approved by Landlord.

                             D.     The fact that Landlord shall have heretofore consented to any installations or
                    alterations made by Tenant in the demised premises shall not relieve Tenant of its obligations
                    pursuant to this Article with respect to such installation or alterations.

                    59.    Estoppel Certificate

                            Tenant, at any time, and from time to time, upon at least ten ( 10) days' prior notice by
                    Landlord, shall execute, acknowledge and deliver to Landlord, and/or to any other person, firm
                    or corporation specified by Landlord ("Recipient"), a statement certifying that this lease is
                    unmodified and in full force and effect (or, if there have been modifications, that the same is in
                    full force and effect as modified and stating the modifications), stating the dates to which the
                    Base Rent and additional rent have been paid, stating whether or not there exists any defaults by
                    Landlord under this lease, and, if so, specifying each such default and any other matters
                    reasonably requested by Landlord or the Recipient.

                    60.    Holdover

                            In the event Tenant shall hold over after the expiration of the Term, the parties hereby
                    agree that Tenant's occupancy of the demised premises after the expiration of the Term shall be
                    upon all of the terms set forth in this lease except Tenant shall pay as rent for the holdover period

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            an amount equal to the higher of (A) an amount equal to two (2) times the sum of ( 1) the pro rata
            Base Rent payable by Tenant during the last year of the Term and (2) all monthly installments of
            additional rent payable by Tenant pursuant to the terms of this lease that would have been
            billable monthly by Landlord had the Term not expired; or (B) an amount equal to the then
            market rental value for the demised premises as shall be established by Landlord giving notice to
            Tenant of Landlord's good faith estimate of such market rental value.

            61.    Conditional Limitation

                     In the event Tenant shall default beyond applicable notice and any cure period after
            notice in the payment of the Base Rent reserved herein, or any item of additional rent herein
            mentioned, or any part of either, or in making any other payment herein required for a total of
            two (2) months, whether or not consecutive, in any twelve ( 12) month period, and Landlord shall
            have served upon Tenant petitions and notices of petition to dispossess Tenant by summary
            proceedings in each such instance, then, notwithstanding that such default may have been cured
            prior to the entry of a judgment against Tenant, any further default in the payment of any money
            due in the twelve (12) months following said second (2 nd ) default, Landlord hereunder shall be
            deemed to be deliberate and Landlord may serve a written five (5) days' notice of cancellation of
            this lease upon Tenant, and upon the expiration of said five (5) days, this lease and the term
            thereunder shall end and expire as fully and completely as if the expiration of such five (5) day
            period were the day herein definitely fixed for the end and expiration of this lease and the term
            thereof. and Tenant shall then quit and surrender the demised premises to Landlord, but Tenant
            shall remain liable as elsewhere provided in this lease.

            62.    Utilities

                     Tenant shall pay for any and all utility services used for or consumed in the demised
            premises relating to Tenant's alteration, occupancy, use or operation of the demised premises at
            any time prior, during and after the Term, including, but not limited to, all rents, rates, fees and
            charges for water, public or private sewer, electric, gas and other utilities furnished to the
            demised premises. As used herein, "utility services" shall include, but not be limited to, energy
            charges (for water, electricity, gas, steam and any other fuel), internet, cable and any other
            voice/data services, and wired or wireless local and long distance telephone charges. Tenant's
            use of any utility services shall not exceed or overload the capacity of any existing installations
            of the Building. Any and all taxes, fees, connection charges and deposits required to obtain
            utility services for Tenant (and all work associated therewith) shall be paid for by Tenant and
            Tenant shall maintain an account in its own name with the provider of the utility service unless
            this agreement expressly provides otherwise.

                    If Tenant uses any gas, Landlord shall install a gas meter and Tenant shall pay Landlord
            for the gas used and meter reading charges as additional rent when and as billed by Landlord.

                    Landlord shall install a water meter at Tenant's expense and Tenant shall pay Landlord
            for the water used and meter reading charges as additional rent when and as billed by Landlord.

            63.    Additional Default Remedy

                    In the event of the termination of this lease or of Landlord's re-entry into the demised
            premises by or under any summary dispossess or other proceeding or action, or any provision of
            law, by reason of Tenant's default hereunder, Tenant shall pay to Landlord as damages, at the
            election of Landlord, either (A) a sum which at the time of such termination of this lease or at the
            time of any such re-entry by Landlord, as the case may be, represents the then value of the
            excess, if any, of ( 1) the aggregate of the Base Rent and the additional rent payable hereunder
            which would have been payable by Tenant (conclusively presuming that additional rent on
            account of increases in Real Estate Taxes shall increase at the average of the rates of increase
            thereof previously experienced by Landlord during the period [not to exceed three (3) years]
            prior to such termination) for the period commencing with such earlier termination of this lease
            or the date of any such re-entry, as the case may be, and ending with the Expiration Date, had
            this lease not so terminated or had Landlord not so re-entered the demised premises, over (2) the
            aggregate rental value of the demised premises for the same period, or (B) the damages
            computed pursuant to Article 18(c) hereof

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      64.     Limitation on Rent

               If on the Commencement Date, or at any time during the Term, the Base Rent or
      additional rent reserved in this lease is not fully collectible by reason of any Federal, State,
      County or City law, proclamation, order or regulation, or direction of a public officer or body
      pursuant to law (collectively, "Law"), Tenant agrees to take such steps as Landlord may request
      to permit Landlord to collect the maximum rents which may be legally permissible from time to
      time during the continuance of such legal rent restriction (but not in excess of the amounts
      reserved therefor under this lease). Upon the termination of such legal rent restriction, Tenant
      shall pay to Landlord, to the extent permitted by Law, an amount equal to (A) the Base Rent and
      additional rent which would have been paid pursuant to this lease but for such legal rent
      restriction, less (B) the Base Rent and additional rent paid by Tenant to Landlord during the
      period such legal rent restriction was in effect.

      65.    Acceptance of Keys

              If Landlord or Landlord's managing or rental agent accepts from Tenant one or more keys
      to the demised premises in order to assist Tenant in showing the demised premises for subletting
      or other disposition or for the performance of work therein for Tenant or for any other purpose,
      the acceptance of such key or keys shall not constitute an acceptance of a surrender of the
      demised premises nor a waiver of any of Landlord's rights or Tenant's obligations under this
      lease including, without limitation, the provisions relating to assignment and subletting and the
      condition of the demised premises.

      66.    Landlord's Consent

      Where Landlord's consent or approval is required under this lease and provision is herein made
      that such consent or approval shall not be unreasonably withheld or delayed, the failure or refusal
      of Landlord to grant such consent or approval, or Landlord's delay in granting the same, shall not
      in any way subject Landlord to any claim for damages or otherwise, it being understood that
      Tenant's sole remedy in the event Landlord shall withhold or delay its consent or approval shall
      be to seek either a declaratory judgment or injunctive relief only.

      67.    Building Work

      Landlord, throughout the Term, shall have reasonable access to any and all mechanical
      installations of Landlord, including but not limited to air-cooling, fan, ventilating, machine
      rooms and electrical closets. All parts (except surfaces facing the interior of the demised
      premises) of all walls, windows and doors bounding the demised premises (including exterior
      Building walls, exterior core corridor walls, exterior doors and entrances), all balconies. terraces
      and roofs adjacent to the demised premises, all space in or adjacent to the demised premises used
      for shafts, stacks, stairways. chutes, pipes, conduits, ducts, fan rooms, heating, air cooling,
      plumbing and other mechanical facilities, service closets and other Building facilities are not part
      of the demised premises. and Landlord shall have the use thereof, as well as reasonable access
      thereto through the demised premises for the purposes of operation, maintenance, alteration,
      improvement, replacement and repair. Landlord and Landlord's designees including, without
      limitation, Landlord's engineers, architects and contractors, shall have the right to enter the
      Premises at all reasonable times upon reasonable prior notice (which notice may be oral), to (i)
      examine the demised premises for any purpose, including , without limitation, for the purpose of
      any future renovations, alteration, decorations, installations to the demised premises and/or the
      Building, (ii) make repairs, alterations. improvements, additions or restorations which are
      reasonably necessary or desirable in connection with the operation of the Building, including, but
      not limited to, its electrical and fire safety systems, or (iii) perform work to comply with legal
      requirements, which work may include, among other things, improvements to the lobby and
      facade of the Building that may require that scaffolding and/or a sidewalk bridge be placed in
      front of the Building. The work, entry and access described herein shall not constitute an actual
      or constructive eviction, in whole or in part, or entitle Tenant to any abatement or diminution of
      rent, or relieve Tenant from any of its obligations under this Lease, or impose any liability upon
      Landlord and Tenant hereby agrees to release Landlord of and from any claims (including
      without limitation, claims arising by reason of loss or interruption of business) provided that

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            Landlord shall use commercially reasonable good faith efforts to lessen adverse effects on
            Tenant's use and property in connection with the work described in this paragraph without an
            obligation to incur overtime or premium pay rates.

            68.     Escalation Payment

            Tenant shall pay as additional rent for each Lease Year subsequent to the first (1st ) Lease Year,
            the sum ("Tenant's Escalation Payment") of (a) all Tenant's "Prior Escalation Payments" (as
            hereinafter defined) previously payable by Tenant pursuant to this Article 68 and (b) an amount
            equal to the product obtained by multiplying the Fixed Escalation Percentage set forth in Article
            41 by the sum of (i) the Base Rent payable for the immediately preceding Lease Year and (ii) all
            of Tenant's Prior Escalation Payments under this Article. Tenant's Escalation Payment for each
            Lease Year shall be payable in twelve ( 12) equal monthly installments on the first day of each
            month during the Lease Year. "Tenant's Prior Escalation Payments" shall mean the sum of all
            amounts payable by Tenant pursuant to this Article 68 for all prior Lease Years. The Base Rent
            abatements set forth in Article 41 shall be disregarded when making computations of Tenant's
            Escalation Payment under this Article. Tenant's Escalation Payment is in lieu of an actual
            operating expense escalation formula in this lease. The Tenant's Escalation Payment shall be
            made in twelve ( 12) equal monthly installment on the first day of the month in the Lease Year to
            which the same shall relate.

            69.    Tenant Work

            Tenant covenants and agrees to perform and pay for all of the Tenant Work within eight (8)
            months of the Commencement Date, subject only to delays beyond Tenant's reasonable control.
            Tenant will coordinate with the base building expeditor to coordinate a filing scenario to the
            mutual benefit of Tenant and Landlord in order to expedite the Building Permit for Tenant's
            Work. Tenant to have permission (with consents of Landlord not to be unreasonably withheld or
            delayed) to relocate the fire stair landing door on the lower level and insert fire rated glass in the
            wall of the stairwell's ground floor vestibule (or remove the entire stairwell enclosure on the
            ground floor) with such installation of Tenant to comply with laws. Prior to using the exclusive
            elevator, Tenant will procure and keep in effect at Tenant's sole expense a maintenance contract
            in form and from a qualified servicing organization reasonably satisfactory to Landlord) for the
            Term of this lease with respect to the exclusive elevator serving the demised premises. Tenant
            shall provide Landlord with documentation and photo-type renderings of Tenant's proposed
            signage for review and approval of Landlord, such approval shall not be unreasonably withheld
            or delayed. Tenant's proposed signage is subject to Tenant obtaining Landmarks Preservation
            Commission approval at Tenant's expense.
            Landlord to provide an allowance as part of the "Work Allowance" (described below) of up to
            $125,000.00 to Tenant for the installation of Tenant's air conditioning system subject to
            Landlord's approval of plans and specifications, such approval not to be unreasonably withheld.
            Payment to be made when such portion of Tenant's Work has been completed and paid for in
            full by Tenant.
            Tenant to provide and install a sewer ejector and hot water heater and all related equipment in an
            area designated in the plan attached hereto and made a part hereof as Exhibit "B 1".
            Tenant to furnish Con Edison with a Gas load letter and arrange for gas service. Landlord will
            cooperate with Tenant in arranging for Con Edison gas service to be brought into the Demised
            Premises. Tenant will be responsible to provide the load letter with its gas requirements for Con
            Ed to establish a gas service to the Demised Premises. Tenant will be allowed to use the gas
            meter room within the building and will construct all associated rated construction, piping,
            booster and vents from the Con Ed service room into the demised premises as required by Con
            Ed and the New York City DOB.
            All modifications to the existing sprinkler system necessary to accommodate Tenant's layout
            shall be performed by Tenant and approved by Landlord such approval not to be unreasonably
            withheld or delayed. Tenant to hook up to the existing sprinkler system downstream of Landlord
            provided OS&Y and flow and tamper valve. Tenant will hire landlord's vendor, Sirina Fire
            Protection for all fire alarm related work provided that Sirina Fire Protection's rates shall be
            competitive in the marketplace. All work to be completed in compliance with all applicable
            building codes and regulations affecting such installation.


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       All fire protection work including hook-up to be done by Sirina Fire Protection.
       As part of Tenant's Work to prepare the premises for its initial occupancy, Tenant is required to
       paint the exposed columns with as many coats of intrumescent fireproof paint or equivalent
       required and fill in around the top of each exposed column with enough layers of sheetrock to
       provide a two (2) hour fire rating for both the column and the portion of the ceiling that touches
       each column. Landlord shall be notified at completion of said fireproofing to inspect and confirm
       same before any further work in such areas shall proceed.
       Tenant to pay a monthly sprinkler and central station alarm maintenance fee to Landlord of
       $100.00 per month (each) for a total of$200.00 per month.

       70.    Confidentiality
       Tenant covenants and agrees to keep all of the terms and conditions of this transaction
       (including, without limitation, the rents. term, and the fact that this lease has been signed and
       delivered) strictly confidential. provided however, that Tenant may disclose such information to
       its attorneys, accountants, the leasing agents refemed to in paragraph 46E, Tenant's members
       and any proposed Affiliates or Successors who need to know such information and have been
       made aware that such information is to be kept confidential. It is further agreed that information
       is not confidential that is or becomes generally available and known to the public other than as a
       result of a wrongful disclosure by the Tenant or anyone that Tenant is responsible for.

       71.    Guaranty

       It is a material inducement, consideration and condition to Landlord entering into this Lease that
       the guaranty attached hereto and made a part hereof (appearing at the top of page 6 of this lease)
       be signed and delivered by the Guarantor described therein without regard to the dates written or
       printed in the documents (or the order in which the parties have signed this Lease and the
       Guarantor have signed the guaranty), as the parties acknowledge and agree that, anything
       contained in this Lease to the contrary notwithstanding, Landlord will not deliver a fully
       executed original of this Lease (signed by Landlord and Tenant) to Tenant until after Landlord
       has received this Lease signed by Tenant and the guaranty signed by the Guarantor.

       72.    Patriot Act.

              Tenant represents and warrants to Landlord that: (a) Tenant is not, and shall not during
      the term of this lease become, a person or entity with whom Landlord is restricted from doing
      business under the Uniting and Strengthening America by Providing Appropriate Tools Required
      to Intercept and Obstruct Terrorism Act of 2001, H.R. 3162, Public Law 107-56 (commonly
      known as the "USA Patriot Act") and Executive Order Number 13224 on Terrorism Financing,
      effective September 24, 2001 and regulations promulgated pursuant thereto, including persons
      and entities named on the Office of Foreign Asset Control Specially Designated Nationals and
      Blocked Person List (collectively, "Prohibited Persons"); (b) Tenant is not currently conducting
      any business or engaged in any transaction or dealing, or otherwise associated with, any
      Prohibited Persons in connection with the use or occupancy of the demised premises; and (c)
      Tenant shall not during the term of this lease engage in any transaction or dealing, or be
      otherwise associated with, any Prohibited Persons in connection with the use or occupancy of the
      demised premises. Tenant covenants and agrees to deliver to Landlord any certification or other
      evidence requested from time to time by Landlord in its reasonable discretion, confirming
      Tenant's compliance with this Article. Tenant hereby agrees to defend, indemnify, and hold
      harmless Landlord from and against any and all claims, damages, losses, risks, liabilities and
      expenses (including attorney's fees and costs) arising from or related to any breach of the
      foregoing certification. Simultaneously with delivery of any executed assignment or subletting
      agreement to Landlord, the assignee or sublessee, as applicable, must execute the above
      certification in writing and provide any other certification reasonably requested by Landlord
      related to the Patriot Act.

       73.    WORK ALLOWANCE

       The Tenant's Work in the lower level is described in Exhibit B-5, attached hereto and made a
       part hereof. Tenant shall not commence Tenant's Work until (i) final plans drawings and

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           specifications for Tenant's Work (which are consistent with Exhibit B-5) have been prepared by
           Tenant at Tenant's expense, submitted by Tenant to Landlord, and approved by Landlord (such
           approval not to be unreasonably withheld, conditioned or delayed); (ii) Landlord has approved
           Tenant's general contractor and all other contractors, subcontractors and materialmen to be
           involved in the performance of the Tenant Work and their insurance policies (such approval not
           to be unreasonably withheld, conditioned or delayed); and (ii) all necessary building permits and
           any other required governmental approvals have been issued for Tenant's Work. Landlord to
           respond to Tenant's submission of plans within ten (10) days subject to delays beyond
           Landlord's reasonable control.

           Landlord represents that it has up to $520,400.00 (the "Work Allowance") which shall be
           available for Landlord to draw on from a loan made by Investor's Bank for payment of costs for
           Tenant's Work. Within fourteen (14) days of the date of execution of this lease, Tenant shall
           place $200,000.00 in an escrow account (the ·'Escrow Account") reasonably satisfactory to
           Landlord, which $200,000.00 shall be used to pay the initial costs for Tenant's Work, including
           up $100,000.00 thereof for advance deposits required by Tenant's architect, engineer,
           construction manager, expediter and general contractor pursuant to the construction contract
           described below and related Hard Costs, filing fees and other Soft Costs payable in advance.
           Promptly after execution and delivery of this lease (and in any event no later than one hundred
           twenty [120) days after execution and delivery of this lease) Tenant shall enter into a
           construction contract for the Tenant's Work with a general contractor reasonably satisfactory to
           Landlord. Only Landlord shall be permitted to authorize disbursements from the Escrow
           Account and the Work Allowance and such disbursements shall be made as provided below and
           the review and approval of each Requistion by Landlord's construction manager.

           Landlord hereby agrees to reimburse Tenant (or pay for Tenant to the appropriate payee entitled
           to payment for Tenant's Work), within thirty (30) days upon request therefore, for the cost of
           Tenant's Work. Such payment shall be made out of the Escrow Fund first and payments shall be
           made by Landlord (but not in excess of the Landlord's Work Allowance of $520,400.00) once
           the Escrow Fund has been exhausted. In connection with any request by Tenant for such
           reimbursement or payment (the "Requisition"), Tenant shall submit to Landlord copies of the
           invoices for completed work, partial or final waivers of lien (as the case may be) from all
           contractors, subcontractors and materialmen involved in the performance of the Tenant Work
           relating to the portion of the Tenant Work theretofore performed and materials theretofore
           provided and for which previous disbursements and/or the requested disbursement has been or is
           to be made (except to the extent such waivers of lien were previously furnished to Landlord),
           and such other information and documentation as Landlord, in its good faith judgment, deems
           necessary, including, but not limited to (i) copies of all receipts, invoices and bills for the work
           completed and materials furnished in connection with the Tenant's Work and incorporated in the
           demised premises which are to be paid from the requested disbursement or which have been paid
           by Tenant and for which Tenant is seeking reimbursement; (ii) an AIA G702 certificate signed
           by Tenant's licensed architect together with a statement signed by Tenant's Chief Financial
           Officer, dated not more than ten (10) days prior to such Requisition, setting forth the following:
           that the sum then requested is justly due to persons who have rendered services or furnished
           materials for the work therein specified, and giving a brief description of such services and
           materials and the several amounts due to each of said persons in respect thereof, and stating that
           no part of such expenditure is being made the basis, in any previous or then pending prior
           Requisition, for the receipt of the payment from the Escrow Account and/or the Work
           Allowance, as the case may be, nor has such expenditure been previously paid out of the
           proceeds of the Escrow Fund and/or the Work Allowance received by, or for the account of
           Tenant under this Article, that the sum then requested in the Requisition does not exceed the
           value of the services and materials described in the Requisition, and that, in their opinion, the
           portion of the Tenant Work theretofore completed was performed in a good and workmanlike
           manner and substantially in accordance with the plans, drawings and specifications previously
           approved by Landlord and in compliance with all legal requirements; that except for the sum
           then requested in such Requisition, there is no outstanding indebtedness (except for withholding
           by Tenant ofnot more than ten [10%] percent of the cost of the Tenant Work for any Requisition
           other than the final Requisition) known to the persons signing such certificate, which is then due
           for labor, wages, materials, supplies or services in connection with the Initial Work which, if
           unpaid, might immediately become the basis of a vendor's, mechanic's, laborer's or material
           man's statutory or similar lien upon such work or upon the Real Property and Building or any

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      part thereof or upon Tenant's leasehold interest; and the percentage of the Tenant Work
      theretofore completed and the then total projected cost of the Tenant Work. Upon Tenant's
      compliance with the foregoing provisions hereof and Tenant exhausting the Escrow Fund to pay
      for costs for Tenant's Work, Landlord shall cause to be paid to the persons entitled to payment
      named in Tenant's Requisition, the respective amounts stated therein to be due to them provided
      that Landlord's architect and construction manager review and approve each such Requisition.
      However, the last $52,400.00 of the Work Allowance shall not be paid to, or for Tenant unless
      and until Tenant submits the last requisition (the "Final Requisition") based on the Tenant's
      Work having been completed, final lien waivers having been received, and all sign-offs from
      governmental agencies having been issued.
      Landlord shall respond to Tenant's monthly Requisition promptly after it has been submitted and
      any rejection thereof shall explain in reasonable detail the reasons for such rejection and the
      amounts in question to give Tenant sufficient information to correct the submission.

      The foregoing notwithstanding, in no event shall the Work Allowance be used to pay "Soft
      Costs'' in excess of $78,060.00 (with Tenant to be solely responsible for payment of any such
      excess), and the Work Allowance shall only be used to pay Softs Costs up to $78,060.00 and
      "Hard Costs". "Soft Costs" means architectural, design, construction management, engineering
      and expediter fees and filing expenses. "Hard Costs" means the cost of labor and materials used
      to perform leasehold improvements exclusive of any Soft Costs and costs for furniture, trade
      fixture and removable personal property. Any and all costs and expenses relating to the Tenant's
      Work in excess of the Work Allowance shall be paid for solely by Tenant.

      Nothing contained herein shall require Landlord to approve any payment to Tenant as payee
      from the Work Allowance or the Escrow Fund other than as a reimbursement for any payment
      made by Tenant which is properly subject to reimbursement as provided herein; in all other
      instances payment shall be made to the person or entity entitled to payment on account of
      services render and labor and materials supplied as part of the Tenant Work.

      In no event shall Landlord's payment obligations under this Article exceed $520,400.00, it being
      expressly understood and agreed that all costs for Tenant's Work in excess of $520,400.00 shall
      be the sole responsibility of Tenant.

      74.    PARTNERSHIP TENANT

               If Tenant is a general partnership (or if this lease shall be assigned to, or held by two (2)
      or more persons or entities, individually and/or as co-partners of a partnership), any such
      partnership and such persons or entities are referred to in this Article as a "Partnership Tenant,"
      then the following provisions of this Article shall apply to such Partnership Tenant: (i) the
      liability of each of the parties comprising a Partnership Tenant (e.g., Scorpion Fitness Inc. and
      Scorpion Club Ventures LLC) shall be joint and several, and (ii) each of the parties comprising a
      Partnership Tenant (e.g., Scorpion Fitness Inc. and Scorpion Club Ventures LLC) hereby
      consents in advance to. and agrees to be bound by, any written instrument which may hereafter
      be executed, changing, modifying or discharging this Lease, in whole or in part, or surrendering
      all or any part of the demised premises to Landlord, and by any notices, demands, requests or
      other communications which may hereafter be given by a Partnership Tenant or by any of the
      parties comprising a Partnership Tenant, and (iii) any bills, statements, notices, demands,
      requests or other communications given or rendered to a Partnership Tenant and to all such
      parties shall be binding upon a Partnership Tenant and all such parties, and (iv) if a Partnership
      Tenant shall admit new partners (e.g., if a third entity shall be added as a lessee of this lease in
      addition to, or in lieu of Scorpion Fitness Inc. and/or Scorpion Club Ventures LLC subject to,
      and in accordance with the applicable provisions of this lease), all of such new partners (i.e., any
      such new or additional entity becoming a new or additional lessee under this Lease) shall, by
      their admission to a Partnership Tenant, be deemed to have assumed performance of all of the
      terms, covenants and conditions of this Lease on Tenant's part to be observed and performed as if
      each of them had signed this lease as one of the original parties comprising the Tenant, and (v) a
      Partnership Tenant shall give prompt notice to Landlord of the admission of any such new
      partners, and upon demand of Landlord, shall cause each such new partner to execute and deliver
      to Landlord an agreement in form satisfactory to Landlord, wherein each such new partner shall
      assume performance of all the terms, covenants and conditions of this Lease on Tenant's part to
      be observed and performed as aforesaid (but neither Landlord's failure to request any such

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      agreement nor the failure of any such new partner to execute or deliver any such agreement to
      Landlord shall vitiate the provisions of subdivision (iv) of this Article). The provisions of this
      Article are not intended to create any personal liability of any members of a limited liability
      company that is a Tenant under this lease or any personal liability of any shareholders of a
      corporation that is a Tenant under this lease.




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                                              EXHIBIT #1

                                 Form of Notice of Substantial Completion


                                        Dino & Sons Realty Corp.
                                           1590 Troy Avenue
                                          Brooklyn, NY 11234

      BY FEDERAL EXPRESS
      Date:_ _ __

      Scorpion Fitness Inc.
      Scorpion Club Ventures LLC
      325 Fifth Avenue
      New York, NY 10016
      Attention: Mr. John Shams

       Re:    lease (the "Lease") dated _ _ _ _ by and between Dino & Sons Realty Corp., as
              Landlord, and, Scorpion Fitness Inc. and Scorpion Club Ventures LLC, as Tenant, for
              premises at 220 Fifth Avenue, New York, NY

      Gentlemen:

      Please take notice that the Landord's Work described in the lease has been substantially
      completed and Landlord hereby offers you possession of the premises subject to, and in
      accordance with the terms and conditions of the Lease.

      Very truly yours,
      Dino & Sons Realty Corp.

      By:_ _ _ _ _ __
      Name:
      Title:




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                                               Exhibit "A"
                                          The Demised Premises
                  Not to scale; all dimensions approximate; subject to actual conditions.




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                                                          Exhibit "B"
                                                       Landlord's Work

                       l) Demolish the entire premises including removing all drop ceilings, ceiling hangers. old
              electrical conduits, dead plumbing pipes, HVAC ductwork and HV AC equipment. Demolish
              existing bathrooms (including removal of existing step-up to deliver at grade), kitchenette and all
              associate plumbing, all non-load bearing walls as well as remove the terracotta column casings
              of the first six (6) columns shown in plan attached as Exhibit "B2". Demolition to also include
              the staircase enclosure in the ground floor vestibule. the wall mirrors and wonder-board
              mounting, the radiator enclosure on the lower level, and the AC machine in the mezzanine.

                     2) Deliver the ground, mezzanine and cellar floors in broom clean condition.

                     3) The ground and cellar floors will be delivered with 100 lbs PSF floor load.

                      4) Encapsulate the entire premises including filling all breaches in the floors and
                      ceilings so to be delivered with two hour fire separation from adjoining spaces in
              compliance with all applicable building codes having jurisdiction. Sheetrock walls shall be taped
              and ready for paint. Fire stopping shall be in compliance with all applicable codes having
              jurisdiction.

                     5) Deliver premises free of hazardous containing materials (HCM), including asbestos,
              lead and mold or encapsulate same. Landlord to provide an ACP-5 for Landlord's Work.

                     6) Complete the installation of a storefront display window and double door entrance to
              the premises and obtain all necessary approvals required for such installation. The display
              window will be delivered encapsulated in sheetrock with a lockable access door.

                     7) Provide two code compliant means of egress from cellar floor to street level. All doors
              and frames to be code compliant including fire rated door buck and FPSC "B'' label door with
              NYC UL approved panic hardware. Landlord to provide code compliant egress stairs from
              mezzanine to street level.

                      8) Construct a closet around the exposed electrical panels near the lobby stair as indicated



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              on the plan attached hereto and made a part hereof as Exhibit ··BJ".

                      9) Skim coat the ceilings and walls of the lower level and mezzanine and the walls of the
              ground floor and lower level delivering a smooth finish. The ceiling area identified in the plan
              and attached as exhibit B-4 will be left as-is. All Q-decking in the vault area will be covered in
              sheetrock and the vaulted ceilings are to be parched, skim coated and are to r~ceive a waterproof                  ,
              membrane so to be delivered as uniform and clean as possible.             VS#   f\"t '5_~(\~      I     f\]V} 1,       (/'Y\
                      [Landlord shall encapsulate Belgian Beer Cate's HVAC Uni~ith ~ci e~ulat10n to
              be done in cooperation with Tenant's Work (and this item is not part of the Landlord's Work that
              has to be substantially completed prior to Commencement of the Term).]

                     10) Furnish a steam coil for Tenant to install and use with their HVAC system to blow
              heat during normal business hours. [Landlord to maintain steam pipes after the Commencement
              Date and for the balance of the Term but Tenant shall be responsible for any damage to the pipe
              caused by Tenant.]

                       11) Repair existing metal plates covering the under floor steam pipes and provide and
              install new diamond plate steel floor plates where necessary. Provide insulation under the metal
              plates, where practicable.

                      12) Landlord to deliver an operable. code compliant, ADA approved elevator (in a
              condition where it is able pass an inspection) for Tenant's exclusive use between the ground
              floor and lower level. Landlord will provide and install new interior panels, flooring and lighting



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       with Tenant's input on colors and finishes.   1



               13) Landlord to deliver weather tight core and shell with particular consideration of the
       vault space walls and ceilings.

                14) Landlord to deliver all exposed structural steel beams and columns structurally
       sound.

                15) Landlord to fireproof all exposed ceiling beams and deliver flat, smooth and ready to
       paint finishes as per adjacent surfaces.

              16) Landlord to relocate mezzanine egress stair into common freight elevator corridor
       independent of Tenant's ground floor entrance vestibule. If practical, feasible and lawful, in
       Landlord's reasonable determination. Landlord will install a new door to mezzanine stair for
       Tenant's direct access to mezzanine space

            17) Exterior facade shall be in accordance with Landlord's Landmark Preservation
       Commission approved drawings.

             18) Storefront glazing system/finishes shall be in accordance with current Energy Codes
       and LPC approvals.

              19) Landlord to deliver a 600 amps at 120/208v 3ph 4w service, including combination
       CT, main switch and meter bridge (1) 600amp service detail. 42 in a circuit main distribution
       panel. 20) Landlord to supply Tenant with a connection points in to the Building's Class E
       system for Tenants hook-up.

                21) Landlord will install a separate water meter to meter tenant's water usage.

               22)    Landlord will install a panic bar with alarm on the emergency egress door in
       basement leading from freight elevator vestibule to the premises. There are to be emergency
       push bars on 1) the door leading from the lower level of the premises to the 2nd means of egress
       and 2) from the freight elevator vestibule to the lower level premises.

              23) Incoming cold water line shall be a minimum of 2" or sized greater to be in
       accordance with code requirements at 50 psi.

                24) Landlord shall insulate all existing water lines running through the demised premise.

               25) Landlord to provide 4" sanitary waste sewer connection to sub-cellar sewer for tenant
       to install an ejection system.

                26) Landlord to provide 4" connection to building domestic sewer line for tenants hook
       up.

             27) Gas shut off valve for exhaust hood of restaurant above to be relocated outside the
       demised premises to meter room.

              28) Landlord shall provide code compliant connection to base building sprinkler service
       on the ground floor of the premises [which connection shall be independent of Belgian Beer
       Cafe].

               29) Restore all existing radiators to working order as well as strip and re-paint each
       radiator.


       1 The elevator work shall be completed within ninety (90) days of the substantial completion of the rest

       of Landlord's Work, subject only to delays beyond Landlord's reasonable control, with Tenant to
       provide Landlord with reasonable access to the demised premises if and as necessary for such
       purpose, The substantial completion of the Elevator Work shall not be deemed to be part of the
       Landlord's Work that has to be substantially completed prior to the Commencement Date.

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               30) If practical, lawful and feasible in Landlord's reasonable judgment, Landlord shall
       use reasonable good faith best etforts to reroute sewer pipe in 26 th Street vault area.

       Tenant to provide Landlord with detailed punch-list within one week after substantial completion
       of Landlord's Work. Landlord shall complete the punch-list items that relate to Landlord's Work
       expeditiously but not later than forty-five (45) days after receipt of the punch-list subject only to
       delays beyond Landlord's reasonable control.

       Landlord shall perform the following work at Landlord's expense after the Commencement Date
       with Tenant to provide Landlord with reasonable access to the demised premises if and as
       necessary for such purpose:
              Landlord shall provide and install in building setback a code compliant platform for
              placement of condensing units. Landlord to provide and install code compliant ducts to
              reroute discharge air from two (2) existing condenser units in setback in a manner so that
              discharge from existing units does not interfere with adequate performance of new units
              to be provided by Tenant that will be placed on platform by Tenant. Such work to be
              completed within sixty (60) days after Landlord has approved Tenant's plans subject only
              to delays beyond Landlord's reasonable control.
                     In connection with Tenant's AC unit installation, Landlord to make vertical
              penetrations for condenser lines and air exchange duct(s) within thirty (30) days after
              Landlord has approved Tenant's plans subject only to delays beyond Landlord's
              reasonable control.
              All water supplies to have RPZ valves and back flow-preventer, if required by code, and
              water-pressure sufficient for normal and proper operation of all water fixtures.
              Landlord to install gas meter promptly after Con Edison has completed work to deliver
              gas to the demised premises. Such meter work to be completed within thirty (30) days
              fater Con Edison has completed its work in delivering Tenant's requested gas service to
              the meter room.




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                                        EXHIBIT"Bl"
                                  Hot water heater ejector pit.




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      Exhibit B2

              EXHIBIT B2




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      ExhibitB3


                        EXHIBIT 83




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      ExhibitB4


                  EXHIBIT 84




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                  EXHIBIT B5




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                                                     Exhibit "C"
                                     Tenant Construction Rules and Regulations
          The following rules and regulations must be followed while working at the building:
          I)     All general contractors and subcontractors must be approved by the management.
          2)     All trades must be compatible with existing building labor and jurisdictions.
          3)     Plans and specifications must be reviewed and approved by the management prior to
          work commencement.
          4)   All insurance certificates must be delivered to the building office before any work
          commences (Public Liability and Workers' Compensation).
          5)      The workday is Monday to Friday, 8:00 a.m. to 5:00 p.m. Overtime standby for one
          freight elevator operator or one building engineer shall be charged at the then prevailing hourly
          rate for the building which is currently $150/hour with a four (4) hour minimum. Requests to
          work after hours and on weekends must be made in writing 24 hours in advance. All after hour
          and weekend work must be supervised by a building employee.
          6)     All demolition shall be done after normal building hours.
          7)     Debris shall be removed daily off construction floor and out of building.
          8)     A $500.00 clean-up deposit is required (refundable) for every approved project.
          9)      Protection of public areas must be set up, e.g.: dust control, carpet protection, wall
          protection and public toilets.
          10)    Maximum daytime delivery shall be one hour per tenant project.
          11)    All trades must sign in/out daily and use the freight car to enter and leave the job site.
          Use of the tenant's restrooms is prohibited. Trades shall use the bathroom facilities as
          designated by Landlord or Building Manager.
          12)    All construction shall comply with the most recent New York City Building Codes.
          13)    All pertinent construction work permits shall be filed for and submitted to management
          before any work may proceed.
          14)     Upon completion of any alteration requiring NYC Department of Buildings approval, a
          complete set of signed/sealed as-built drawings and Cadd must be submitted to management. All
          required certificates of completion shall be obtained from the proper City Agency and submitted
          to the Building Manager.
          15)    Intentionally Deleted
          16)    All through floor pipe work, cutting, chopping, channeling or boring must be done on
          overtime and have prior written approval of upper or lower floor tenant and management.
          17)    All trades requiring licenses (e.g.: plumbers, electricians) must present a valid license to
          building management prior to entering the work site.
          18)     If any tenant alteration affects the current fire alarm system to the extent of speakers,
          strobes, pull stations, warden stations or any other accessories to the system, the tenant shall be
          responsible to modify and upgrade the system to comply with all current codes. All work shall
          be performed by the contractor designated by Building Management.
          NOTE:All electrical, plumbing and HV AC must be field checked by building engineer before
          any tie-ins can be made.
                       Insurance requirements for any Contractor performing work for Tenant:

          A Certificate of Insurance should be supplied by the general contractor naming Landlord,
          Landlord's Mortgagee and Managing Agent as Additional Named Insureds as respects the
          General Contractors and covering its sub-contractors' Commercial General Liability Policies.
          with the following minimum limits:

                         $3,000,000 - (PER OCCURRENCE) SUBJECT TO;
                         $3,000,000 - GENERAL AGGREGATE [*ON A PER PROJECT BASIS]
                         $3,000,000 - PRODUCTS - COMPLETED OPERATIONS
                         $5,000,000- PERSONAL INJURY

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                        $ 100,000 - FIRE, DAMAGE LEGAL LIABILITY
                        $ 5,000 - MEDICAL EXPENSE LIMIT

          The following endorsements should be evidenced:

                         l.     Notice of Occurrence
                         2.     Knowledge of Occurrence
                         3.     Unintentional Errors and Omissions

          Evidence of the following should be included on the Certificate:

                         I.     Commercial Automobile Liability with a minimum Combined Single
                                Limit of$1,000,000 for "bodily injury" and "property damage".

                        2.      Excess Umbrella Liability at a minimum limit of$5,000,000 with a self-
                                insured retention not to exceed $10,000.

                         3.     Workers Compensation & Employers Liability

                         4.     New York State Disability Benefits (DBL)




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                                                          EXHIBIT"D"

                                                 Building Rules and Regulations

              1.    The rights of tenants in the entrances, corridors and elevators of the Building are limited to
                    ingress to and egress from the tenant's premises for the tenants and their employees, licensees and
                    invitees, and no tenant shall use, or permit the use of, the entrances, corridors, or elevators for any
                    other purpose. No tenant shall invite to the tenants premises, or permit the visit of, persons in
                    such numbers or under such conditions as to interfere with the use and enjoyment of any of the
                    entrances, corridors, elevators and other facilities of the Building by other tenants. Fire exits and
                    stairways are for emergency use only, and they shall not be used for any other purpose by the
                    tenants, their employees, licensees or invitees. No tenant shall encumber or obstruct, or permit the
                    encumbrance or obstruction of any of the sidewalks, entrances, corridors, elevators, fire exits or
                    stairways of the Building. The Landlord reserves the right to control and operate the public
                    portions of the Building and the public facilities, as well as facilities furnished for the common
                    use of the tenants, in such manner as it deems best for the benefit of the tenants generally.

             2.     The Landlord may refuse admission to the Building outside of ordinary business hours to any
                    person not known to the watchman in charge or not having a pass issuecj by the Landlord or the
                    tenant whose premises are to be entered or not otherwise properly identified, and may require all
                    persons admitted to or leaving the Building outside of ordinary business hours to register. Any
                    person whose presence in the Building at any time shall, in the judgment of the Landlord, be
                    prejudicial to the safety, character, reputation and interests of the Building or of its tenants may
                    be denied access to the Building or may be ejected therefrom. In case of invasion, riot, public
                    excitement or other commotion, the Landlord may prevent all access to the Building during the
                    continuance of the same, by closing the doors or otherwise, for the safety of the tenants and
                    protection of property in the Building. The Landlord may require any person leaving the Building
                    with any package or other object to exhibit a pass from the tenant from whose premises the
                    package or object is being removed, but the establishment and enforcement of such requirement
                    shall not impose any responsibility on the Landlord for the protection of any tenant against the
                    removal of property from the premises of the tenant. The Landlord shall, in no way, be liable to
                    any tenant for damages or loss arising from the admission, exclusion or ejection of any person to
                    or from the Tenant's premises or the Building under the provisions of this rule. Canvassing,
                    soliciting or peddling in the Building is prohibited and every tenant shall cooperate to prevent the
                    same.

             3.     No awnings or other projections over or around the windows shall be installed by any tenant, and
                    only such window blinds as are supplied or permitted by the Landlord shall be used in a tenant's
                    premises without Landlord's prior written consent. Linoleum, tile or other floor covering shall be
                    laid in a tenant's premises only in a manner approved by the Landlord.

             4.     The Landlord shall have the right to prescribe the weight and position of safes and other objects
                    of excessive weight, and no safe or other object whose weight exceeds the lawful load for the area
                    upon which it would stand shall be brought into or kept upon a tenant's premises. If, in the
                    judgment of the Landlord, it is necessary to distribute the concentrated weight of any heavy
                    object, the work involved in such distribution shall be done at the expense of Tenant and in such
                    manner as the Landlord shall determine. The moving of safes and other heavy objects shall take
                    place only outside of ordinary business hours upon previous notice to the Landlord, and the
                    persons employed to move the same in and out of the Building shall be reasonably acceptable to
                    the Landlord and, if so required by law, shall hold a Master Rigger's license. Freight, furniture,
                    business equipment, merchandise and bulky matter of any description shall be delivered to and
                    removed from the premises only in the freight elevators and through the service entrances and
                    corridors, and only during hours and in a manner approved by the Landlord. Arrangements will
                    be made by the Landlord with any tenant for moving large quantities of furniture and equipment
                    into or out of the building.

             5.     No machines or mechanical equipment of any kind, may be installed or operated in any tenant's
                    premises without Landlord's prior written consent, which consent shall not be unreasonably
                    withheld or delayed, and in no case (even where the same are of a type so excepted or as so
                    consented to by the Landlord) shall any machines or mechanical equipment be so placed or
                    operated as to disturb other tenants but machines and mechanical equipment which may be
                    permitted to be installed and used in a tenant's premises shall be so equipped, installed and
                    maintained by such tenant as to prevent any disturbing noise, vibration or electrical or other
                    interference from being transmitted from such premises to any other area of the Building.




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                      6.     No noise, including the playing of any musical instruments, radio or television, which, in the
                             judgment of the Landlord, disturbs other tenants in the Building, shall be made or permitted by
                             any tenant, and no cooking shall be done in the tenant's premises, except as contemplated by this
                             lease or as otherwise expressly approved by the Landlord. Nothing shall be done or permitted in
                             any tenant's premises, and nothing shall be brought into or kept in any tenant's premises, which
                             would impair or interfere with any of the Building services or the proper and economic heating,
                             cleaning or other servicing of the Building or the premises, or the use or enjoyment by any other
                             tenant of any other premises, nor shall there be installed by any tenant any ventilating, air
                             conditioning, electrical or other equipment of any kind which, in the judgment of the Landlord,
                             might cause any such impairment or interference. No dangerous, inflammable, combustible or
                             explosive object or material shall be brought into the Building by any tenant or with the
                             permission of any tenant. Any cuspidors or similar containers or receptacles used in any tenant's
                             premises shall be cared for and cleaned by and at the expense of the tenant.

                      7.     No acids, vapors or other materials shall be discharged or permitted to be discharged into the
                             waste lines, vents or flues of the Building which may damage them. The water and wash closets
                             and other plumbing fixtures in or serving any tenant's premises shall not be used for any purpose
                             other than the purposes for which they were designed or constructed, and no sweepings, rubbish,
                             rags, acids or other foreign substances shall be deposited therein.

                      8.     All entrance doors in each tenant's premises shall be left locked and all windows shall be left
                             closed by the tenant when the tenant's premises are not in use. Entrance doors shall not be left
                             open at any time.

                      9.     Hand trucks not equipped with rubber tires and side guards shall not be used within the Building.

                      10.    All windows in each tenant's premises shall be kept closed and all blinds therein, if any, above the
                             ground floor shall be lowered when and as reasonably required because of the position of the sun,
                             during the operation of the Building air-conditioning system to cool or ventilate the tenant's
                             premises.

                      11.    The Landlord reserves the right to rescind, alter or waive any rule or regulation at any time
                             prescribed for the Building when, in its judgment, it deems it necessary, desirable or proper for its
                             best interest and for the best interests of the tenants, and no alteration or waiver of any rule or
                             regulation in favor of one tenant shall operate as an alteration or waiver in favor of any other
                             tenant. The Landlord shall not be responsible to any tenant for the non-observance or violation by
                             any other tenant of any of the rules and regulations at any time prescribed for the Building.

                      12.    No sign, advertisement, notice or other lettering shall be exhibited, inscribed, painted or affixed
                             by any tenant on any part of the outside of the Tenant's premises or Building without the prior
                             written consent of Landlord. Landlord may remove same without liability and may charge the
                             expense incurred by such removal to the Tenant when violating this rule.

                      13.    No showcases or other articles shall be put in front of or affixed to any part of the exterior of the
                             Building, nor placed in the halls, corridors or vestibules, nor shall any article obstruct any air-
                             conditioning supply or exhaust without the prior written consent of Landlord.

                      14.    No Tenant shall mark, paint, drill into, or in any way deface any part of the part of the Demised
                             Premises or the Building, except with the prior written consent of Landlord. No boring, cutting or
                             stringing of wires shall be permitted, except with the prior written consent of Landlord, and as
                             Landlord may direct.

                      15.    No bicycles, vehicles or animals of any kind shall be brought into or kept by Tenant in or about
                             the Demised Premises or the Building.

                      16.    No Tenant shall obtain or accept for use in its premises, towels, barbering, boot blacking, floor
                             polishing, lighting maintenance, cleaning or other similar service from any persons not authorized
                             by Landlord in writing to furnish such services. Such services shall be furnished only at such
                             hours, in such locations within Tenant's premises and under such regulation as may be fixed by
                             Landlord.

                      17.    No window or other air-condition units shall be installed by any Tenant without the consent of the
                             Landlord and only such window coverings as are supplied or are reasonably permitted by
                             Landlord shall be used in Tenant's premises.

                      18.    All entrance doors in each Tenant's premises shall be left locked when the Tenant's premises are
                             not in use Entrance doors shall not be left open at any time

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                                                                       Exhibit "E"

                                                         LIMITED PERSONAL GUARANTY

                       (1) As an inducement to DINO & SONS REALTY CORP. ("Landlord") to accept a lease agreement
                       dated December 19, 2014 (the "Lease") between Landlord, as lessor, and SCORPION FITNESS INC. and
                       SCORPRION FITNESS LLC, as lessees, for space consisting of part of the ground floor, mezzanine and
                       lower level (the "demised premises") at 220 Fifth Avenue, New York, NY, the undersigned individual(s)
                       JOHN SHAMS (the "Guarantor") hereby guarantees to Landlord the payment of all Annual Base Rent,
                       and any and all other rent and additional rent, and any and all damages, costs, attorneys' fees, and
                       expenses payable by the "Tenant" (as defined below) under the Lease through the "Surrender Date"
                       (defined below). As used herein, the "Tenant" means and includes SCORPION FITNESS INC. and
                       SCORPION CLUB VENTURES LLC jointly and severally, and any and all of its or their permitted
                       successors or assigns, ifthere are any, and any party claiming rights in or to the demised premises or the
                       Lease under or through SCORPION FITNESS INC. and/or SCORPION CLUB VENTURES LLC or any
                       of its successors or assigns at any time during or after the term of the Lease. Nothing contained herein
                       shall alter the assignment and subletting provisions of the Lease or modify the Lease in any other manner.

                       (2) The purpose of this limited Guaranty is to assure Landlord (and Landlord's successor and assigns)
                       that the payment of all rent and additional rent (including, but not limited to, Annual Base Rent and
                       additional rent for any and all damages, costs, fees and expenses) accruing under the Lease through the
                       Surrender Date shall be made by the Guarantor if the same is not paid by Tenant. The "Surrender Date"
                       means the date on which Tenant has given Landlord possession of the demised premises broom clean and
                       free of all liens, claims, damages, occupants and personal property and otherwise in the condition required
                       under the Lease upon expiration of the term of the Lease and Tenant has paid all Annual Base Rent and
                       additional rent for any and all other charges accrued under the Lease through the last day of the month in
                       which the Surrender Date shall occur, and an effective instrument of surrender of the demised premises
                       has been signed and delivered by Tenant to Landlord (without prejudice to Landlord's rights to recover
                       from Tenant the Annual Base Rent and any and all additional rents for the unexpired balance of the term
                       of the Lease as provided in the Lease) in form reasonably satisfactory to Landlord (containing
                       confirmation that Tenant is relinquishing all rights of Tenant and any person claiming under or through
                       Tenant to have possession of the demised premises) on ninety (90) days prior written notice. Nothing
                       contained herein or in any such instrument shall relieve Tenant of liability to Landlord at any time
                       (whether before or after the Surrender Date), and any liability of the Guarantor for any claims of Landlord
                       against Tenant arising under the Lease on or before the Surrender Date shall survive the Surrender Date.
                       The foregoing notwithstanding, in no event shall the Surrender Date occur prior to the date that Landlord
                       has collected twelve (12) months of Base Rent.

                       (3) Any security deposit under the Lease shall not be credited against amounts payable by Tenant, or by
                       Guarantor, under the terms of this Guaranty. The acceptance by Landlord of payments under this
                       Guaranty or the acceptance of a surrender of the demised premises shall not be deemed a release or
                       waiver by Landlord of any obligation of the Tenant under the Lease or the Guarantor under this guaranty.

                       (4) This Guaranty is absolute and unconditional, it is a guaranty of payment and performance, not of
                       collection, and Guarantor's liability hereunder shall be primary. If there is more than one person or entity
                       signing this Guaranty as the Guarantor, the liability of each of them shall be joint, several and personal.
                       This Guaranty may be enforced without the necessity of resorting to or exhausting any other security or
                       remedy, without the necessity at any time of having recourse to Tenant and without having commenced
                       any action against Tenant or having obtained any judgment against Tenant. The validity of this Guaranty
                       shall not be affected or impaired by reason of the assertion by Landlord against Tenant of any of the
                       rights or remedies reserved to Landlord under the Lease. Guarantor agrees that this Guaranty shall remain
                       in force and effect as to any assignment, transfer, renewal, modification or extension of the Lease and for
                       any holdover period after expiration or termination of the Lease. No action or inaction of Landlord or
                       Tenant shall affect the obligations of Guarantor hereunder. The Guarantor waives notice of any and all
                       defaults by Tenant in the payment of annual base rent, additional rent, or any other charges, and waives
                       notice of any and all defaults by Tenant in the performance of any of the terms of the Lease on Tenant's
                       part to be performed. The Lease may be modified without Guarantor's consent and any such modification
                       signed by Landlord and Tenant shall not release the Guarantor.

                       (5) Until all the terms, covenants and conditions in the Lease on the Tenant's part to be paid, kept,
                       performed and observed are fully paid, kept, performed and observed, the Guarantor: (a) shall have no
                       right of subrogation against the Tenant by reason of any payments or acts of performance by the
                       Guarantor, in compliance with the obligations of the Guarantor hereunder; (b) waives any right to
                       enforce any remedy which the Guarantor now or hereafter shall have against the Tenant by reason of any
                       one or more payments or acts of performance in compliance with the obligations of the Guarantor
                       hereunder; and (c) subordinates any liability or indebtedness of the Tenant now or hereafter held by the
                       Guarantor to the obligations of the Tenant to Landlord under the Lease.

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                                                                                 Please Initial Here· Landlord_ _ ~
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·.,   .
          19-11231-mew

               Execution
                                  Doc 21-3 Filed 06/24/19 Entered 06/24/19 19:30:03
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               (6) If Tenant becomes insolvent or shall be adjudicated a bankrupt or shall file for reorganization or
               similar relief or if such petition is filed by creditors of Tenant, under any present or future Federal or State
               law or if the Lease is terminated or Tenant's obligations otherwise discharged in any bankruptcy
               proceeding, Guarantor's obligations hereunder may nevertheless be enforced against the Guarantor.

               (7) The Guarantor covenants, warrants and represents that: it has the power and authority to enter into
               this agreement and that its obligations as the Guarantor will be enforceable under the laws of the State of
               New York; it is entering into this agreement for a business purpose of, and benefit to the Guarantor;
               Tenant is owned and/or controlled by the Guarantor; any financial or other information furnished to
               Landlord about Guarantor and/or Tenant is full, complete and correct in all respects; and Tenant is a
               validly formed corporation and limited liability company doing business in the State of New York having
               full power and authority to enter into and perform the Lease and it has duly executed and delivered the
               Lease; neither Tenant nor Guarantor is insolvent or the debtor, defendant or respondent in any pending
               bankruptcy, receivership, insolvency or other creditor's action or proceeding.

               (8) This Guaranty shall be governed by, and construed in accordance with, the laws of the State of New
               York without regard to conflicts of law or any rule which might apply the laws of any other jurisdiction.
               GUARANTOR HEREBY WAIVES ANY RIGHT TO TRIAL BY JURY IN ANY ACTION OR
               PROCEEDING ARISING OUT OR RELATING TO THIS GUARANTY. Anything contained herein to
               the contrary notwithstanding, in addition to, and not in lieu of, the Guarantor's liability set forth above,
               Guarantor will pay (i) attorneys' fees, court costs and other expenses incurred by Landlord in enforcing
               this Guaranty, (ii) the amount of any rent abatement, work allowance or concession granted to Tenant and
               (iii) Landlord's unamortized costs (computed on a straight line basis over a useful life corresponding to
               the entire term of the Lease) for (A) brokerage commissions for the Lease and (B) any alterations
               performed for Tenant or by Tenant if and to the extent paid for by Landlord in connection with the Lease.
               Guarantor hereby agrees to be subject to i!J personam jurisdiction in any court of appropriate subject
               matter jurisdiction located in the City, County and State of New York for any action brought by Landlord
               against the Guarantor arising out of, or relating to this guaranty, provided that copies of the summons and
               complaint are sent by certified mail, return receipt requested, to the Guarantor at the address of the
               Guarantor herein set forth (or c/o Tenant at the demised premises if there is no address of the Guarantor
               set forth below) or at such other address as the Guarantor may designate as its address for notices on ten
               (IO) days prior notice in writing sent by certified mail, return receipt requested, to Landlord. The
               unenforceability or invalidity of any provision hereof shall not impair the enforceability and validity of
               the remainder of this Agreement.

               (9) All terms and provisions herein shall inure to the benefit of the assigns and successors of Landlord
               and shall be binding upon the heirs, successors and assigns of Guarantor.

               (IO) Notwithstanding the date on which this guaranty is signed and the date that the Lease is signed, nor
               the order in which those documents are signed, the Guarantor acknowledges and agrees that Landlord will
               not sign and deliver the fully executed Lease to Tenant unless and until after Landlord has received
               checks for the first month's' rent and the security deposit, the Lease signed by Tenant, and this instrument
               signed and acknowledged by the Guarantor.

                                               the undersigned Guarantor has signed this Guaranty on the z.hay of




               Social Security No.
               Address for Notices                                _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
                                         UNIFORM FORM CERTIFICATE OF ACKNOWLEDGMENT
               State of _ _ _ _ _ _ _ _ _~
               County of _ _ _ _ _ _ _ _~                  ss.:
              On the 1, 2 day of           ~owik.e      1    , 2014, before me, the undersigned, personally appeared
              _ _ _ _ _ _ _ _ _ _ personally known to me or proved to me on the basis of satisfactory evidence to be
              the individual(s) whose name(s) is (are) subscribed to the within instrument and acknowledged to me that
              he/she/they executed the same in his/her/their capacity(ies), and that by his/her their signature(s) on the instrument,
              the individual(s ), or     son upon behalf of which the individ~dAJeef')S~tvnstrument.
                  <I                 /                                 Not111ry Public, State of New York
                  /   / c....c           1..                                    No. 01 Pl6126015
               ------"----'--~---.--+--                                     )ualifl1td In 8ron'C County ["
               Notary Public                                          Goni>111ss1on Expires April 25, 20 I



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                                                                               Please Initial Here: Landlord_ _        4
